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                 Exhibit 1
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                                                                                                   US01023742031

(12) United States Patent                                                      (10) Patent No.: US 10 ,237,420 B1
     Wu et al.                                                                 (45) Date of Patent: *Mar. 19 , 2019
(54 ) METHOD AND SYSTEM FOR MATCHING                                                                3/4285 ; H04M 3/42195 ; H04M 3/493 ;
      ENTITIES IN AN AUCTION                                                                        H04M 3 / 4931; H04M 3 /4933; H04M
                                                                                                   3 /4935 ; H04M 3/4936 ; H04M 3 /4938 ;
(71 ) Applicants :Wai Wu, Massapequa , NY (US );                                                      H04M 3 /42221; H04M 3 /51; H04M
                  Steven M . Hoffberg , West Harrison ,                                            3 /5158 ; H04M 3 /5166 ; H04M 3 /5175 ;
                  NY (US)                                                                           H04M 3 /5183 ; H04M 3 / 5191; H04M
(72 ) Inventors: Wai Wu, Massapequa , NY (US );                                                      3 /523 ; H04M 3 /5231; H04M 3 /5232 ;
              Steven M . Hoffberg , West Harrison ,                                                 H04M 3 /5233 ; H04M 3 / 5235 ; H04M
              NY (US)                                                                                  3 /5237 ; H04M 3 /5238; H04M 3 /54;
                                                                                                           HO4M 2203/ 40 ; H04M 2203 /401;
( * ) Notice: Subject to any disclaimer, the term of this                                                 (Continued )
              patent is extended or adjusted under 35
              U .S . C . 154(b ) by 0 days.                             (56 )                          References Cited
               This patent is subject to a terminal dis                                       U . S . PATENT DOCUMENTS
                      claimer.
                                                                                 4 ,048 ,452 A       9 / 1977 Oehring et al.
(21) Appl. No.: 15 /856 ,729                                                     4 , 286 , 118 A     8 / 1981 Mehaffey et al.
                                                                                                (Continued )
(22) Filed :          Dec. 28 , 2017                                    Primary Examiner — Khai N . Nguyen
              Related U .S . Application Data                           (74 ) Attorney, Agent, or Firm — Tully Rinckey PLLC ;
                                                                        Steven M . Hoffberg
(60 ) Continuation of application No. 15 /274 ,744 , filed on
      Sep . 23 , 2016 , now Pat . No. 9,860 ,391, which is a            (57 )                         ABSTRACT
                         ( Continued )                                  A method for matching a first entity with at least one second
(51) Int. Cl.                                                           entity selected from a plurality of second entities , compris
                                                                        ing defining a plurality ofmultivalued scalar data represent
      H04M 3 /00                     (2006 .01)                         ing inferential targeting parameters for the first entity and a
       H04M 5700                     (2006 .01)                         plurality of multivalued scalar data of each of the plurality
                             ( Continued )                              of second entities , representing respective characteristic
(52 ) U .S . CI.                                                        parameters for each respective second entity ; and perform
      CPC ... H04M 15 / 8061 ( 2013 . 01 ); H04M 3 /42068               ing an automated optimization with respect to an economic
                   (2013. 01 ); H04M 3/ 5233 (2013 .01 ); H04M          surplus of a respective match of the first entity with the at
                                         3/5238 (2013 .01 )             least one of the plurality of second entities , and an oppor
( 58 ) Field of Classification Search                                   tunity cost of the unavailability of the at least one of the
      CPC .. G1OL 15 /00 ; G06Q 10 /06 ; G06Q 10 /06316 ;               plurality of second entities for matching with an alternate
                              G06Q 30 /016 ; H04L 51 / 02 ; HO4L         first entity .
                             51/046 ; H04L 51/ 24 ; H04M 3 /323;
                             HO4M 3 /36 ; H04M 3 /4217 ; H04M                                20 Claims, 7 Drawing Sheets

                   Call Classification Vector 501

                                                           Input                                      LCH
                   Call Classification Vector 501
                                                                     Processor                      Telecommunications ,
                   Call Classification Vector 501                       509a                              514a       Agent515a
                                                                        Processor
                                                                          5096
                                     Data Structure 503
                                 Agent Characteristics 504         Operating System 510             Telecommunications
                                     Skillweights 506                                                      514b      Agent515b
                                     Cost Function 507              Message Queue 511

                                               Extrinsic                                            Telecommunications
                                             Perturbation                                                 5140       Agent 5150
                                              Information
                                                    508

                                                                                                    Telecommunications
                                                                               Call Router 512            514d       Agent 5150
           Case 6:23-cv-00575-ADA Document 1-1 Filed 08/07/23 Page 3 of 55


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        call is placed to a call center
                      301

               caller identified
                     302

           caller record retrieved
                     303

        call characteristics identified
                      304

           retrieve agentprofiles
                     305


     < call center near capacity ?            Yes -        use skill -based routing
                   306                                                 307


        use training and skill based                  optimize cost-utility function over
                 routing 311                                   short term 308

      optimize cost- utility function for                        select agent
       long term call center operation                               309
                     312

                                                              route call to agent
                 select agent                                        310
                     313

       route call to agentwith training
            agent available 314



                                            Fig . 1
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       outbound call is cued by an
        outbound call center 401

             callee identified
                    402

          callee record retrieved
                    403

       call characteristics predicted
                    404

          retrieve agent profiles                            expected incremental
                    405                                         cost of agent
                                                                    415
       use training and skill based
               routing 411                                   expected incremental
                                                                utility of agent
     optimize cost-utility function for
      long term call center operation
                    412
                                                             expected incremental
                                                                cost of trainer
               select agent                                          417
                    413

     route call to agent (with training
                                                             expected incremental
                                                                training utility
     agent available if a training call)                             418
                    414




                                           Fig . 2
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                                                           5Ag1e5nat                           5Ag1e5nbt                                      5Ag1e5nct                      5Ag1e5ndt
                                                    UTelcomuLniats514a
                                                                                   Telcomuniats Telcomuniats Telcomuniats
                                                                                            514b                                           5140                         514d


                                                                                                                                                                      512RCoautler
                        TARIN                                        510SOpyesrateinmg 5QMeus1age
                                               PProces r roces r
                                                         509a 5 0 9b
                                                                                                                                                                                         3
                                                                                                                                                                                         .
                                                                                                                                                                                         Fig




                                Input 502
                                                                            503SDtrauctuare5CAhagr0cet ni4stc 506wSekighlts 5FCuno0ctsi7otn Pertubai Informatin
                                                                                                                                            E x tr in s c       508
      w
        501)VClaesaciftlaoirn 5VClaesc0iftlao1irn 5VClaesc0iftlao1irn              ?????????????????????
       Case 6:23-cv-00575-ADA Document 1-1 Filed 08/07/23 Page 10 of 55


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         Receive a plurality of concurrent communications, each
        having a plurality of associated classification factors 601



   w Store information representing   characteristics of a plurality
                       of potential targets 601



          Perform a multifactorial optimization to determine an
          optimum target for each of the plurality of concurrent
       communications based on the classification factors and the
               characteristics of the plurality of targets 603

                                                                                      Common
       Data structure representing skill weights with respect to the                  message
       communication classification factors is applied to determine                      queue
                     an optimum agent selection 604                                      607


       Route at least one of the communication communications to
            a respective an optimum target, said determining
   W     performing step and said routing step being performed
           under control ofwithin a common a single computer
                          operating system 605
                                                                                    providing a cost
                                                                                    function for each
         perturb the determining step to provide discrimination in                      target, and
                               routing 606                             WEL   .
                                                                             www
                                                                             .




                                                                             .
                                                                                   optimizing a cost
                                                                                   benefit outcome of
                                                                                       a routing
                                                                                         608


                                            Fig . 4
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                                                                    programmable processor 702


                                                       Communications control system 701

                            computer readable medium 703
                 a multithreaded operating system , providing support
                 for applications and for passing messages between
                          concurrently executing applications
                                                                                704
               a communications control server application executing
                   under said multithreaded operating system , for
                  controlling concurrent real time communications
                                        705
                  - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                      - - - - -   - - - - - - - - - - - - - - - - - - - -




                dynamically linkable application , communicating with
                  the communications control server application to
                    receive call characteristic data and perform a
               multifactorialoptimization with respect to a plurality of
               target characteristics for each of a plurality of available
                  communications targets , to resolve a an optimal
                  communications target and transmit a resolved
               communications target, said communications control
               server application controlling a plurality of concurrent
         ANV     real time communications in dependence on the
                    transmitted resolved communications target
                                                                                706




                                                                              Fig . 5
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                                                  Communications system 801
                                                                       communications router for defining a




   N
                                                                      plurality of concurrent communications
           plurality of communications                                path paths between sets comprising at
             channels for concurrently                               least two of said entities, conducts series
          communicating with a plurality                              of auctions an auction to determine the
                               of entities                            select respective communications path
                                   802                               paths from among a plurality of available
                                                                        competing paths leading to different
                                                                                     entities
                                                                                             803

                                                                    Fig. 6
        providing a plurality of communications channels for communicating with a plurality of
                                                                     entities
               GEREREARRASCARICE             CERRECHERCHERCAREERS
                                                                       901ORDRER RECERERE   ?????????????????????????????????       MASTER




        routing communications between communications channels based on the results of an
              auction which is sensitive to both economic factors and non -economic factors
                                                    902

                     the communications channels are of a first type and a second type , the
                communications being routed between a user of at least one of a first type of
                      communications channel and a user of at least one of a second type of
                                                           communications channel
                                                                       903
          LLLLLLLLL                L                                                                                            .



        the non - economic factors comprise an optimality ofmatching a profile representing a
              user of a communications channel of the first type with a profile of a user of a
                               communications channel of a second type


          the economic factors compensate for a suboptimiality of a matching of profiles to
                    perturb a non - economic optimalmatching from the auction
                                               906
                                                                     Fig . 7
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           Receiving call classification information for each of a plurality of

       N   calls , the call classification information comprising a plurality of
                                classification characteristics
                                            1001



            Representing a plurality of agent characteristics for each of a
                                    plurality of agents
                                            1002


             Determining , with respect to the received call classification
            information associated with a plurality of concurrent calls , an
            optimum set of concurrentmutually exclusive associations of
              the set ofagents with the plurality of calls , the determining
            being dependent on at least a multifactorial optimization of (1)
            the weighted correspondence of the plurality of classification
             characteristics for each of the respective plurality of calls , and
           (ii ) the plurality of agent characteristics for each of said plurality
                                          of agents
                                            1003



            Controlling a concurrent call routing of the plurality of calls in
                           dependence on the determination
                                            1004

                                          Fig . 8
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                                                         US 10 ,237 ,420 B1
     METHOD AND SYSTEM FOR MATCHING                                       communication hardware peripherals , for example boards
          ENTITIES IN AN AUCTION                                          made by Dialogic , Inc . ( Intel Corp .). The voice communi
                                                                          cation peripherals execute the low level processing and
            CROSS REFERENCE TO RELATED                                    switching of the voice channels, under control from the
                        APPLICATIONS                                    5 general purpose processor. Therefore , the voice - information
                                                                           is generally not communicated on the computer bus.
   The present application is a Continuation of U . S . patent                This architecture typically allows the computing platform
application Ser. No. 15/ 274 , 744 , field Sep . 23 , 2016 , now           to run a modern , non -deterministic operating system , such as
U .S . Pat. No. 9 ,860 , 391 , issued Jan . 2 , 2018 , which is a          Windows 2000 , without impairing the real-time perfor
Division of U .S . patent application Ser. No. 12/719, 827 , 10 mance of the system as a whole, since the communications
filed Mar . 8 , 2010 , now U .S . Pat .No. 9 ,456 ,086 , issued Sep . control functions are not as time critical as the voice
27 , 2016 , which is a Continuation of U . S . patent application     processing functions. However, as is well known, non
Ser. No . 10 /794 ,749 , filed Mar . 5 , 2004, now U .S . Pat. No . deterministic    operating systems, such as Windows 2000 , are
7 ,676 ,034 , which claims benefit of priority from U . S . Pro
visional Patent Application No. 60/453,273 , filed Mar . 7, 15 tasks are executing , andlatencies
                                                                      subject to  significant           , especially when multiple
                                                                                                  when contention exists between
2003 , each of which is expressly incorporated herein by resources, especially hard disk access and virtual memory.
reference in its entirety .                                           Therefore , in order to assure that system operation is unim
                       TECHNICAL FIELD                                peded by inconsistent demands on the platform , typically the
                                                                        20 host computer system for the telephony peripherals is " dedi
   The present invention relates generally to computer inte                cated ” , and attempts are made to eliminate extraneous
grated telecommunications systems and more particularly to software tasks. On the other hand , externalizing essential
a system and method employing an intelligent switching      functions imposes potential latencies due to communica
architecture.                                               tions and external processing.
                                                          25 The Call Center
         BACKGROUND OF THE INVENTION                             “ call center" is an organization of people, telecommu
                                                                           nications equipment and management software , with a mis
   The description of the invention herein is intended to                  sion of efficiently handling electronic customer contact. A
provide information for one skilled in the art to understand typical call center must balance competing goals. Customers
and practice the full scope of the invention , but is not 30 should experience high quality and consistent service as
intended to be limiting as to the scope of available knowl- measured , for example , by how long the customer 's call
edge , nor admit that any particular reference , nor the com -             must wait in queue before being answered and receiving
binations and analysis of this information as presented                    satisfactory service. At the same time, this service should be
herein , is itself a part of the prior art. It is, in fact, a part of      provided to make efficient use of call center resources.
the present invention to aggregate the below cited informa- 35               Strategies for Call Center Management
tion as a part of the disclosure , without limiting the scope                “ Workforce management” systems provide important
thereof. All of the below - identified references are therefore            tools for meeting the goals of the call center. These systems
expressly incorporated herein by reference , as if the entirety            generate forecasts of call volumes and call handling times
thereof was recited completely herein . It is particularly noted based on historical data , to predict how much staff will be
that the present invention is not limited by a narrow or 40 needed at different times of the day and week . The systems
precise discussion herein , nor is it intended that any dis -              then create schedules that match the staffing to anticipated
claimer, limitation , or mandatory language as applied to any              needs.
embodiment or embodiments be considered to limit the                          Typically, an Automatic Call Distribution (ACD ) function
scope of the invention as a whole . The scope of the invention             is provided in conjunction with a computerized Private
is therefore to be construed as the entire literal scope of the 45 Branch Exchange (PBX ). This ACD function enables a
claims, as well as any equivalents thereof as provided by          group of agents, termed ACD agents, to handle a high
law . It is also understood that the title , abstract, field of the        volume of inbound calls and simultaneously allows a queued
invention , and dependent claims are not intended to , and do              caller to listen to recordings when waiting for an available
not, limit the scope of the independent claims.                            ACD agent. The ACD function typically informs inbound
  Real- time communications are typically handled by dedi- 50 callers of their status while they wait and the ACD function
cated systemswhich assure that the management and control                  routes callers to an appropriate ACD agent on a first -come
operations are handled in a manner to keep up with the                     first -served basis .
communications process , and to avoid imposing inordinate                     Today, all full- featured PBXs provide the ACD function
delays . In order to provide cost-effective performance , com -            and there are even vendors who provide switches specifi
plex processes incidental to the management or control of 55 cally designed to support the ACD function . The ACD
the communication are typically externalized . Thus , the                  function has been expanded to provide statistical reporting
communications process is generally unburdened from tasks                  tools, in addition to the call queuing and call routing
requiring a high degree of intelligence, for example the                   functions mentioned above , which statistical reporting tools
evaluation of complex algorithms and real time optimiza -                  are used to manage the call center. For example, ACD
tions . One possible exception is least cost routing (LCR ) , 60 historical reports enable a manager to identify times : (a )
which seeks to employ a communications channel which is          when inbound callers abandon calls after long waits in a
anticipated to have a lowest cost per unit. In fact, LCR                   queue because , for example , the call center is staffed by too
schemes, when implemented in conjunction with a commu                      few ACD agents and (b ) when many ACD agents are idle .
nications switch , either employ simple predetermined rules,               In addition , ACD forecasting reports , based on the historical
or externalize the analysis .                                           65 reports , allow themanager to determine appropriate staffing
   Modern computer telephone integrated systems typically                  levels for specific weeks and months in the future .
employ a general purpose computer with dedicated voice                        Queue Management
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                                                      US 10 ,237 ,420 B1
   ACD systems experience high traffic periods and low                  Skill-based routing of agents is a well-known principle , in
traffic periods. Consequently , ACD systemsmust be capable           which the agent with the best match of skills to the problem
of automating two major decisions. The first major decision          presented is selected for handling thematter. Typically , these
may be referred to as the “ agent selection decision ," i.e.,        matters involve handling of telephone calls in a call center,
when more than one agent is available to handle the next 5 and the technology may be applied to both inbound and
transaction , which agent should be chosen ? The second    outbound calling, or a combination of each . The skill - based
major decision may be referred to as the “ transaction selec needsrouting algorithms may also be used to anticipate call center
tion decision ,” i.e ., when more than one transaction is greatest, andefficiency
                                                                              therefore be used to optimally schedule agents for
                                                                                     , lowest cost, or other optimized variable .
waiting for the next available agent and an agent becomes 10 In the case of multi           -skill criteria, the optimality of selec
available , which transaction should the agent handle ?           tion may   be  based    on   a global minimization of the cost
   One approach to the agent selection decision is to set up      function or the like .
 a sequencing scheme, so that the switch of the ACD system           The longest- idle - agent approach and the FIFO approach
 follows the same sequence of agents until the first available    function  well in applications having little variation in the
agent in the sequence is found . The concern with this     MS  15 types of transactions   being handled by the ACD agents. If all
approach is that it creates “ hot seats," i.e . an inequitable       agents can handle any transaction , these approaches provide
distribution of inbound calls to ACD agents who are high in          a sufficiently high level of transactional throughput, i.e., the
the sequence. Most current ACD systems solve the agent               number of transactions handled by the call center in a
selection decision by using a longest- idle- eligible -agent particular time interval. However, in many call center envi
approach to provide a more equitable distribution of trans- 20 ronments , the agents are not equally adept at performing all
actions.                                                             types of transactions . For example, some transactions of a
   There are also different approaches to the transaction            particular call center may require knowledge of a language
selection decision in which there are more available trans           other than the native language of the country in which the
actions than there are ACD agents . One approach is to create        call center is located . As another example , some transactions
one or more first - in , first - out (FIFO ) queues . Under this 25 may require the expertise of specialists ” having training in
approach , each transaction may be marked with a priority            the specific field to which the transaction relates, since
level by the switch of the ACD system . When an agent                training all agents to be knowledgeable in all areas would be
becomes available , the transaction with the highest priority        cost - prohibitive. For ACD applications in which agents are
is routed to the agent. If several calls of equal priority are       not equally adept at performing all transactions, there are a
waiting in a queue , the call which has been waiting the 30 number of problems which at least potentially reduce trans
longest is routed to the available agent . If the call center        actional throughput of the call center. Three such problems
conducts outbound transactions, each transaction is similarly    may be referred to as the “ under -skilled agent” problem , the
submitted to a FIFO queue with a priority designation , with     " over - skilled agent" problem , and the " static grouping "
the switch routing transactions from the queue to the agents .   problem .
   Queue/ Team Management                                      35 The under-skilled agent problem reduces transactional
   Calls that arrive at a call center generally are classified   throughput when the switch routes transactions to ACD
into “ call types ” based on the dialed number and possibly agents who do not have sufficient skills to handle the
other information such as calling number or caller responses         transactions. For example , a call may be routed to an
to prompts from the network . The call center is typically           English - only speaking person , even though the caller only
served by an automatic call distributor (ACD ), which iden - 40 speaks Spanish . In another example , the transaction may
tifies the call type of each incoming call and either delivers       relate to product support of a particular item for which the
or queues it . Each call type may have a separate first- in -        agent is not trained . When this occurs, the agent will
first-out queue in the ACD . In most existing call centers , the     typically apologize to the customer and transfer the call to
agents answering calls are organized into one or more                another agent who is capable of helping the customer.
" teams," with each team having primary responsibility of 45 Consequently , neither the agent' s nor the customer' s time is
the calls in one ormore queues . This paradigm is sometimes          efficiently utilized .
referred to as “ queue/ team .”                                         Inefficient utilization is also a concern related to the
   In the queue/team model, scheduling for each team can be          over-skilled agent problem . A call center may have fixed
done independently . Suppose , for example , that the call         groupings of agents , with each group having highly trained
center handles calls for sales, service , and billing, and that 50 individuals and less -experienced individuals . Call-manage
each of these call types is served by a separate team . The ment may also designate certain agents as " specialists,"
schedule for sales agents will depend on the forecast for since it would be cost prohibitive to train all agents to be
sales call volumeand on various constraints and preferences        experts in all transactions. Ideally , the highly skilled agents
applicable to the agents being scheduled , but this schedule         handle only those transactions that require a greater- than
is not affected by the call volume forecast for service or 55 average skill level. However, if a significant time passes
billing . Further, within the sales team , agents are typically without transactions that require highly skilled agents , the
considered interchangeable from a call handling viewpoint.           agents may be assigned to calls for which they are over
Thus, within a team , schedule start times, break times and          qualified . This places the system in a position in which there
the like ,may be traded freely among agents in the team to           is no qualified agent for an incoming call requiring a
satisfy agent preferences without affecting scheduled call 60 particular expertise because the agents having the expertise
coverage . See , U .S . Pat. No. 5 ,325 ,292 , expressly incorpo -   are handling calls that do not require such expertise . Again ,
rated herein by reference .                                          the transactional throughput of the call center is reduced .
   In a queue/ team environment, when a new call arrived ,       Current ACD systems allow agents to be grouped accord
the ACD determines the call type and places it in the queue ,  ing to training. For example, a product support call center
if all agents are busy , or allocates this call to the team 65 may be divided into four fixed , i.e., " static," groups, with
member who had been available the longest.                     each group being trained in a different category of products
   Skill- Based Routing                                        sold by the company. There are a number of potentially
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                                                      US 10 ,237 , 420 B1
negative effects of static grouping . Firstly , the call center      dling. Thus, trading lunch times between a Sales-only agent
management must devise some configuration of agents into             and a multi- skill agent might lead to over- staffing Sales at
groups . This may be a costly process requiring extensive            noon while under - staffing Service at 1 :00 p .m . This would
analysis and data entry . Secondly , the configuration that is    lead to undesirable results. Moreover, with respect to the
devised is not likely to be optimal in all situations. The pace 5 needs of a particular call type, a multi-skilled agent might
and mix of transactions will change during a typical day . At    provide no help over a given span of time, might be 100 %
different times, the adverse effects of the under-skilled agent  available for calls of that type , ormight be available part of
problem     and the  adverse effects of  the over -skilled
problem will vary with respect to the transactional throughagent the time and handling other call types for another part of
put of the call center. Thirdly, when a new product is 10 All. agents having a particular combination of skills may
                                                                 time
released , the devised configuration likely will be less valu
able . In response to changes in the size , pace and mix of the be  deemed a " skill group .” A central problem of skills -based
                                                                 scheduling is then finding a way to predict what fraction of
transaction load over the course of time, call management scheduled         agents from each skill group will be available to
must monitor and adjust the performance of the current each call type            during each time interval being scheduled . If
grouping configuration on an ongoing basis. When trends 15
are detected , the grouping configuration should be changed . these fractions are known , then the effect of different agent
This requires the time and attention of call center managers     schedules can be generated . Unfortunately , it is difficult or
and supervisors . Again , the transactional throughput is impossible to calculate the skill group availability fractions
reduced .                                                        directly. These functions depend on the relative and absolute
   It is thus known in the prior art to provide ACD systems 20 call volumes in each call type , on the particulars of the
that depart from the queue/team model described above . skills-based call distribution algorithms in the ACD , and on
Calls are still categorized into call types. In place of queues the skills profiles of the total scheduled agent population .
for the call types , however, queues associated with “ skills”   Particularly as ACD skills - based routing algorithms them
are provided . The ACD ' s call distribution logic for the call  selves evolve and become more sophisticated , the factors
type determines which queue or queues a call will occupy at 25 affecting skill group availability become too complex for
various times before it is answered . Agents are not organized direct analysis. One proposed solution provides a feedback
into teams with exclusive responsibility for specific queues . mechanism involving call handling simulation and incre
Instead , each agent has one or more identified " skills” mental scheduling , to schedule agents in a skills -based
corresponding to the skills -based queues. Thus, both a given
call and a given agentmay be connected to multiple queues 30 routing
                                                             expressly
                                                                       environment. See, U .S . Pat. No. 6 ,044 ,355,
                                                                        incorporated herein in its entirety .
at the same time. Agent skills designations may be further      In accordance with this " skills-based scheduling " method,
qualified , for example , as " primary " or " secondary skills, or
with some other designation of skill priority or degree of           a computer implemented tool is used to determine an
skill attainment. The ACD call distribution logic may take           optimum schedule for a plurality of scheduled agents in a
the skill priority levels into account in its call distribution 35 telephone call center, each of the plurality of scheduled
logic .                                                              agents having a combination of defined skills. The plurality
   In a skills -based routing environment, the matching ” of         of scheduled agents are organized into skill groups" with
calls to agents by the ACD becomes more sophisticated and            each group including all scheduled agents having a particu
thus complicated . Agents who have more than one skill no            lar combination of skills. The method begins by generating
longer " belong” to a well -defined team that handles a 40 a plurality of net staffing arrays , each net staff array asso
restricted set of calls. Instead , the skills definitions form       ciated with a given call type and defining, for each time
" implicit” teams that overlap in complex ways . If, for             interval to be scheduled , an estimate of a difference between
example , a call center has 10 skills defined , then agents          a given staffing level and a staffing level needed to meet a
could in principle have any of 1024 possible combinations            current call handling requirement. In addition to the net
(21 ) of those skills . Each skill combination could be eligible 45 staffing arrays, the method uses a plurality of skills group
to handle a different subset of the incoming calls , and the availability arrays, each skills group availability array asso
eligible subset might vary with time of day, number of calls         ciated with the given call type and defining , for each
in queue, or other factors used by the ACD in its call routing       combination of skill group and time interval to be scheduled ,
decisions .                                                          an estimate of a percentage of scheduled agents from each
   Today, call center managers want to connect a caller to an 50 skill group that are available to handle a call. According to
ACD agent having exactly the right skills to serve the caller.       the method , the plurality of arrays are used to generate a
However, " skills based ” ACD agent groups are often small           proposed schedule for each of the plurality of scheduled
and , as a result, whenever an inbound call arrives, all such        agents . Thereafter, a call handling simulation is then run
" skills based ” ACD agents may be busy . In such instances ,        against the proposed schedule using a plurality of ACD call
the ACD function can take call back instructions from the 55 distribution algorithms (one for each call type being sched
caller and the ACD function can manage the call back uled ). Based on the results of the call handling simulation ,
functions, for example , by assigning such calls, in accor           the net staffing arrays and the skills availability arrays are
dance with the caller instructions, to a " skills based ” ACD        refined to more accurately define the net staffing and skills
agent whenever one becomes available .                               usage requirements. The process of generating a schedule
   Scheduling of agents in a skills -based environment is thus 60 and then testing that schedule through the simulator is then
a much more difficult problem than it is in a queue /team            repeated until a given event occurs . The given event may be
environment. In a skills-based environment, call types can -         a determination that the schedule meets some given accep
not be considered in isolation . Thus, for example , a heavy         tance criteria , a passage of a predetermined period of time,
volume of Service calls might place higher demands on                a predetermined number of iterations of the process , or some
multi - skilled agents , causing an unforeseen shortage of 65 combination thereof. A proposed schedule is “ optimized ”
coverage for Billing calls . Further, agents with different          when it provides an acceptable call handling performance
skills cannot be considered interchangeable for call han             level and an acceptable staffing level in the simulation . Once
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the proposed schedule is " optimized ,” it may be further              geographically separated groups of agents that answer
adjusted (within a particular skill group ) to accommodate             incoming calls distributed to the agents by separate ACDs.
agent preferences .                                                    Agent communication terminals (ACTS ) which are con
   U .S . Pat. No. 5 ,206 ,903 to Kohler et al. describes ACD          nected to an ACD are utilized by the agents to process
equipment which uses static grouping . Each static group of 5 incoming calls routed to a particular ACT by the ACD .
agents is referred to as a " split ," and each split is associated A public branch exchange (PBX ) type ACD such as a
with a different queue. The agents are assigned to splits              Definity® ACD available from AT & T functions as a con
according to skills . Within a single split, the agents may be         ventional PBX and further functions as an ACD to distribute
limited to knowledge of different subtypes of transactions.            incoming calls to local agents connected to the PBX .
Preferably , there is at least one agent in each split who is 10 Another type of ACD consists of the utilization of an
trained to handle calls of any of the subtypes within the        electronic telecommunication switch such as a 5ESS®
particular split. This " expert” may also be trained to effi-    switch available from AT & T which is capable of providing
ciently handle calls of other types, i.e ., other splits. Each         ACD service when supposed by ACTs coupled to the switch .
agent possesses up to four skill numbers that represent Both types of ACD typically function as independent sys
various abilities of the agent with respect to handling 15 tems which handle incoming calls and make internal deci
transactions related to subtypes and types of transactions.            sions concerning which agentwill receive a given call. Both
The ACD equipment assigns each incoming call three pri                 types of ACD systems are capable of generating statistical
oritized skill numbers that estimate skill requirements of the         reports which can be monitored by a workstation coupled to
incoming call. The skill numbers of the incoming call are              the ACD system to allow a supervisor to monitor call
considered " prioritized ,” since they are viewed sequentially 20 handling statistics . Such data typically represents an average
in searching for a match of the call with an agent, so that the of statistics for a given system .
second skill number of the call is unnecessary if a match is         Telephone call centers that handle calls to toll -free “ 800 "
found using the first prioritized skill number. The incoming numbers are well-known in the art. Typically , a company
call is assigned the one , two or three prioritized skill             may have many call centers, all answering calls made to the
numbers and is placed in the appropriate queue of the 25 same set of 800 numbers . Each of the company ' s call centers
appropriate static group of agents. A search is made among             usually has an automatic call distributor ( ACD ) or similar
the available agents for an agent-skill number that matches            equipment capable of queuing calls. ACD management
the first skill number of the call. If no match is found after information systems keep statistics on agent and call status ,
a predetermined time delay, the second prioritized skill       and can report these statistics on frequent intervals . Such
number of the call is used to find a match . If no match is 30 capabilities are in use today for centralized reporting and
found after a second predetermined time delay, the third               display of multi - location call center status .
prioritized skill number is considered . Then , if no match is            In such systems, the company will want to distribute the
still found , the ACD equipment of Kohler et al. expands the           calls to its call centers in a way that will optimally meet its
search of available agents to other groups of agents .                 business goals. Those goals might include low cost of call
  While theKohler et al. patent does not directly address the 35 handling, answering most calls within a given amount of
problems associated with static groups , it does consider the         time, providing customized handling for certain calls , and
skills of the individual agents. The prioritized skill numbers        many others . It is also known in the prior art that certain call
assigned to the incoming calls are logically ordered . The routing criteria and techniques support a broad range of
patent refers to the first skill number of a call as the primary   business goals. These include " load balancing," " caller
call- skill indicator. This primary indicator is used to define 40 segmentation ” and “ geographic routing.” Load balancing
the minimal skill level that is required for an agent to               refers to distribution of calls so that the expected answer
competently handle the call. Consequently , if a match is              delay for new calls is similar across all the call centers. If
made with the primary indicator, the ACD agent may not be              other considerations do not dictate otherwise , load balancing
over-skilled or under - skilled . However, if the search is            is desirable because it provides optimum efficiency in the
unsuccessful, the secondary call-skill indicator is utilized . 45 use of agents and facilities, and it provides the most con
 The search for a match to the secondary indicator may cause      sistent grade of service to callers . In special situations it
the call to be routed to an agent having more than the might be desirable to unbalance the load in a particular way ,
minimal required skill. The third prioritized skill number             but control over the distribution of call load is still desired .
that is assigned to the incoming call is referred to as the               If the caller ' s identity can be inferred from the calling
“ tertiary ” call- skill indicator. The tertiary indicator is yet 50 number, caller-entered digits , or other information , that
another skill level beyond what is minimally required to identity may influence the choice of destination for the call .
competently handle a call. Since the tertiary indicator is Call routing based on such information is referred to as
utilized only if a match is not found for either of the primary        caller segmentation . Also , it has been found desirable for
or secondary indicators , an overly skilled agent of the particular call centers to handle calls from particular geo
appropriate group will handle the call only if that agent is the 55 graphic areas . The motivation may be to minimize call
only available capable agent. Thus, more highly skilled transport costs , to support pre -defined call center “ territo
agents are assigned only when their skills are required , or no           ries " , or to take advantage of agents specifically trained to
lesser -skilled agent is available to handle the call. See , U .S . handle calls from given locations. Such techniques are
Pat. Nos . 6 ,453,038 ; 6 , 459,784 ; 6 ,463 , 299; 6 ,466 ,654 ; known as geographic routing
6 ,466 , 909; 6 ,470 ,077 ; 6 , 477 , 245 ; 6 , 477 ,494 ; 6 ,487,533 ; 60 The interexchange carriers who provide 800 service today
6 ,493,432 ; 6 ,493 ,696 ; 6 ,496 ,568; 6 ,510 ,221; 6 ,519, 259;      generally support some form of " routing plan ” to help
6 ,519 ,459; 6 , 522 ,726 ; 6 , 529 , 870 ; and 20030002646 .          achieve load balancing , caller segmentation and geographic
   Group Routing                                                       routing. Typically , these routing plans allow 800 call routing
   Various types of conventional automatic call distributors           based on time of day , day of week , the caller 's area code ,
(ACDs ) are available to distribute incoming calls to a group . 65 caller-entered digits , and fixed percentage allocations. Pre
Reservation and information services may be provided by            dominately , however, the routing plans supported by the
large companies, such as major airlines, and may consist of carriers are static in the sense that they do not automatically
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                                                                                                          10
react to unexpected variations in incoming call volume or               also be assigned to a supervisor team , which represents
distribution , nor to actual call delays being experienced at          multiple agents that report to the same supervisor.
each destination . Reaction to changing conditions is done                in certain situations , it is necessary to restrict an agent' s
via manual modification of the plan , on a time scale of               activity to answering calls or handling a particular type of
minutes or hours .                                                   5 call ( e . g ., answering only incoming calls ). For example ,
   Recent service offerings from some interexchange carri -            during an outbound campaign , the system placing the out
ers offer some degree of automatic reaction to changing                bound calls and controlling the rate at which the calls are
conditions. One such offering, called “ alternate termination          placed , e.g ., a so - called predictive dialer, relies on the
sequence” or “ ATS” ( from AT & T ), allows customers to      availability of the agent to handle an answered call. If the
establish maximum numbers of calls to be queued for each 10 system places outbound calls expecting the agent to be
destination , with a pre - defined alternative when a primary available , but the agent instead places their own call to
destination is overloaded . Another offering, referred to as            another agent or a supervisor, or has an incoming call
" intelligent routing control” or “ IRC ” (from MCI), allows an       connected to them , the outbound system may not have an
ACD to refuse a call from the network , again resulting in            agent available to handle an answered outbound call . Addi
pre - defined alternative call handling. A third kind of service , 15 tionally , if an agent is assigned to handle incoming calls, but
AT & T 's Intelligent Call Processing, lets the interexchange instead places a call to another agent or listens to voice mail
network pass call-by -call data to a computer.                         messages, the number of queued incoming calls may
    In a conventional ACD , phone calls are processed on a        increase , thereby increasing the waiting time experienced by
first-in , first -out basis: the longest call waiting is answered the callers.
by the next available agent. Answering calls across multiple 20 One document which provides considerable information
automated call distributors (ACD ) is typically done on a           on intelligent networks is “ ITU - T Recommendation Q . 1219,
first-in , first- out basis dependent upon time of receipt of the   Intelligent Network User' s Guide for Capability Set 1” ,
call by each ACD , whether the call is directly connected or        dated April, 1994 . This document is incorporated herein by
forwarded .                                                         reference .
    Another call distribution scheme is provided in Gechter et 25 One known system proposes a call-management method
al., U . S . Pat. No . 5 ,036 ,535 . This patent discloses a system and system for distributing calls to a plurality of individuals ,
for automatically distributing telephone calls placed over a such as automatic call distribution (ACD ) agents, which
network to one of a plurality of agent stations connected to    routes calls to the individuals based upon a correlation of
the network via service interfaces , and providing status       attributes of the individuals with calls that are tagged with
messages to the network . Gechter et al.' s disclosed system 30 identification of abilities that are advantageous to efficiently
 includes means for receiving the agent status messages and processing the calls. That is , for each call that is to be
call arrival messages from the network , which means are        distributed , one or more skills that are relevant to efficient
connected via a network service interface to the network . handling of the call are determined and then used to route the
Routing means responsive to the receiving means is pro -               call to an appropriate individual. In addition , call manage
vided for generating a routing signalprovided to the network 35 ment preferences may also be accommodated .
to connect the incoming call to an agent station through the              Personalization and Collaborative Filtering
network . In the system disclosed in Gechter et al, when an               Known systems allow personalization or prediction of
incoming call is made to the call router, it decides which             user type, preferences or desires based on historical data or
agent station should receive the call, establishes a call with         limited information available. These known systems have
that agent station , and then transfers the original call onto the 40 been applied to a number of different domains.
second call to connect the incoming caller directly to the                 In a non -collaborative personalization system , the avail
agent station and then drops out of the connection .                    able information about a person is analyzed , and based on
   U .S . Pat. No. 5 ,193 , 110 issued to Jones et al discloses an      this information , conclusions are drawn . In a collaborative
integrated services platform for a telephone communications             system , the available information is used to associate the
system which platform includes a plurality of application 45 person with a group of other users having common attri
processing ports for providing different types of information          butes . By grouping users, the data sets are more dense ,
services to callers. In Jones et al.' s disclosed system , a           permitting more detailed inferences to be drawn . The groups
master control unit and a high speed digital switch are used           are defined by mapping user attributes in a multidimensional
to control processing of incoming phone calls by recogniz -    space , and then defining clusters of users having correlated
ing the type of service requested by the caller and then 50 traits . Further, the use of data relating to past transactions of
routing the call to the appropriate processing port. The Jones other users allows prediction of outcomes and sequences of
et al system is disclosed as an adjunct to current switching            actions, without having a true past example of the activity
technology in public and private networks .                             from that particular user.
   Intelligent Call Management                                 The following references are expressly incorporated
  Call centers are also used to make outbound calls, for 55 herein by reference: U .S . Pat. Nos . 5 ,560 , 011 ; 5 , 774, 357 ;
example for telemarketing. Agents making outbound calls , 5 ,790 , 935 ; 5 , 867,386 ; 5 , 867,799; 5 ,875 , 108 ; 5 , 901 ,246 ;
referred to as outbound agents, are typically separate from            5 , 903 , 454 ; 5 , 920 ,477 ; 5 , 983 ,214 ; 5 , 999 , 908; 6 , 006 ,218 ;
ACD agents handling inbound calls and call center software             6 ,016 ,475 ; 6 , 018 , 738 ; 6 , 029 , 161; 6 ,078 , 928 ; 6 ,081,750 ;
separately manages outbound call lists for outbound agents             6 , 112 , 181; 6 , 112 , 186 ; 6 , 138, 119 ; 6 , 144 , 964 ; 6 , 146 ,026 ;
to ensure that each outbound agent wastes little time in 60 6 , 170,742 ; 6 , 177 ,932 ; 6 , 185 ,683; 6 ,236 , 978 ; 6 ,236 , 980 ;
dialing or in performing overhead operations.                          6 , 253 ,193 ; 6 ,256 ,648; 6 ,266 ,649; 6 , 308 ,175 ; 6 ,314 ,420 ;
   A call center typically has multiple agents for answering           6 ,317 ,718 ; 6 , 317 ,722; 6 , 321, 179 ; 6 , 321,221 ; 6 ,327 ,590 ;
incoming calls and placing outgoing calls . A call center may          6 , 334 , 127 ; 6 , 334 , 131; 6 , 345 , 264 ; 6 ,353, 813; 6 , 356 , 899 ;
also have agents participating in outgoing call campaigns, 6 ,389 ,372 ; 6 ,400 , 996 ; 6 ,405 , 922 ; 6 ,412,012 ; 6 ,418 ,424 ;
typically in conjunction with an outbound call management 65 6 ,421,709; 6 ,430 ,558 ; 6 ,446 ,035 ; 6 ,449, 367; 6 ,466 , 970 ;
system . Each agent may be assigned to a particular group , 6 ,477 , 246 ; 6 ,480 , 844 ; 6 ,484, 123 ; and 6 ,529 ,891. See Ref
such as an inbound group or an outbound group. Agents can              erences, below . See , also U .S . Pat. Nos. 4,048 ,452 ; 4 ,737 ,
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                                                                                                                 12
983 , 4 ,757 ,529 ; 4 ,893, 301 ; 4 , 953 , 204 ; 5 ,073 ,890 ; 5 ,278 ,         Hypertext Markup Language (HTML ) browser based soft
898 ; 5 , 309,513 ; 5 , 369,695 ; 5 ,506 , 898 ; 5 ,511 , 117 ; 5 , 519 ,        ware “ applet ” to track auctions. For example , ONSALE .
773 ; 5 ,524 , 147; 5 ,590 , 188; 5 ,633 ,922 ; 5 ,633 , 924 ; 5 , 715 ,         COM has made available a Marimba Castanet® applet
307; 5 ,740 ,240 ; 5 , 768, 360 ; 5 , 825 , 869 ; 5 , 848 , 143 ; 5 , 870 ,      called Bidwatch to track auction progress for particular
464 ; 5 ,878 ,130; 5, 901,214 ; 5, 905 , 792; 5 , 907 ,608; 5 ,910 , 5 items or classes of items, and to facilitate bidding thereon .
982 : 5 .915 ,011 ; 5 ,917 , 903 ; 5 , 923 , 745 ; 5 , 926 , 539; 5 , 933 , This system , however, lacks real-time performance under
492; 5 , 940,496 , 5 , 940 , 947 ; 5 , 946 , 387; 5 , 953,332 , 5 , 953 , many circumstances, having a stated refresh period of 10
405; 5 , 956 ,397 ; 5 , 960, 073 ; 5 , 963,632 ; 5 , 970 , 134 ; 5 , 978 ,       seconds , with a long latency for confirmation of a bid , due
465; 5 , 982,868; 5 , 987 , 116 ; 5 , 987 , 118 ; 5 , 991, 391; 5 , 991 ,        to constraints on software execution , quality of service in
392 ; 5 ,991,395 ; 5 ,995 ,614 ; 5, 995 ,615 ; 5, 999, 965 ; 6 ,002, 10 communications streams, and bid confirmation dialogue .
760 ; 6 , 005 , 931; 6 , 044 , 146 ; 6 , 058 ,435 ; 6 , 061, 347 ; 6 , 064,      Thus , it is possible to lose a bid even if an attempt was made
667; 6 ,072 ,864 ; 6 , 104 , 801; 6 , 115 ,462 ; 6 , 118 , 865 ; 6 , 122 ,       prior to another bidder . The need to quickly enter the bid , at
358 ; 6 , 122,360 ; 6 , 122 ,364 ; 6 , 128 ,380 ; 6 , 134,530 ; 6 , 147 , risk of being too late , makes the process potentially error
975 ; 6 , 157 ,655 ; 6 , 175 ,563; 6 , 175 , 564 ; 6 ,185 ,292 ; 6 ,223 ,  prone .
165 ; 6 ,226 ,289; 6 ,229 ,888 ; 6 ,230 , 197; 6 , 233 , 332 , 6 , 333 , 15 Proxy bidding, as discussed above, is a known technique
979 ; 6 , 333, 980 ; 6 ,347 , 139 ; and U .S . Patent Application Nos .          for overcoming the constraints of Internet communications
010000458 Al; 0010024497 Al; 0020006191 Al;                                      and client processing limitations, since it bypasses the client
0020009190 A1; 0020019846 A1; and 0020021693 A1, each                            and telecommunications links and may execute solely on the
of which is expressly incorporated herein by reference .                         host system or local thereto . However, proxy bidding under
   Internet Auctions                                                          20 mines some of the efficiencies gained by a live market .
   On- line electronic auction systems which allow efficient                        U . S . Pat. No. 5, 890 , 138 to Godin , et al . (Mar. 30 , 1999 ),
sales of products and services are well known , for example ,                    expressly incorporated herein by reference in its entirety ,
EBAY .COM , ONSALE .COM , UBID .COM , and the like .                             relates to an Internet auction system . The system implements
Inverse auctions that allow efficientpurchases of product are                    a declining price auction process, removing a user from the
also known , establishing a market price by competition 25 auction process once an indication to purchase has been
between sellers . The Internet holds the promise of further                      received . See , Rockoff , T. E ., Groves, M .; “ Design of an
improving efficiency of auctions by reducing transaction                         Internet - based System for Remote Dutch Auctions” , Internet
costs and freeing the “ same time- same place” limitations of                    Research , v 5 , n 4 , pp . 10 - 16 , MCB University Press, Jan . 1 ,
traditional auctions. This is especially appropriate where the                   1995 .
goods may be adequately described by text or images , and 30 A known computer site for auctioning a product on -line
thus a physical examination of the goods is not required    comprises at least one web server computer designed for
prior to bidding.                                                                serving a host of computer browsers and providing the
   In existing Internet systems, the technological focus has                     browsers with the capability to participate in various auc
been in providing an auction system that, over the course of                     tions, where each auction is ofa single product, at a specified
hours to days, allow a large number of simultaneous auc - 35 time, with a specified number of the product available for
tions , between a large number of bidders to occur. These                        sale . The web server cooperates with a separate database
systemsmust be scalable and have high transaction through                        computer , separated from the web server computer by a
put, while assuring database consistency and overall system                      firewall. The database computer is accessible to the web
reliability. Even so , certain users may selectively exploit                     computer server computer to allow selective retrieval of
known technological limitations and artifacts of the auction 40 product information , which includes a product description ,
system , including non - real time updating of bidding infor - the quantity of the product to be auctioned , a start price of
mation , especially in the final stages of an auction .         the product , and an image of the product. The web server
   Because of existing bandwidth and technological hurdles,                      computer displays, updated during an auction , the current
Internet auctions are quite different from live auctions with                    price of the product, the quantity of the product remaining
respect to psychological factors . Live auctions are often 45 available for purchase and the measure of the time remain
monitored closely by bidders, who strategically make bids,                       ing in the auction . The current price is decreased in a
based not only on the " value” of the goods , but also on an                     predetermined manner during the auction . Each user is
assessment of the competition , timing, psychology, and                          provided with an input instructing the system to purchase the
progress of the auction . It is for this reason that so - called product at a displayed current price , transmitting an identi
proxy bidding, wherein the bidder creates a preprogrammed 50 fication and required financial authorization for the purchase
“ strategy ” , usually limited to a maximum price , are disfa    of the product, which must be confirmed within a predeter
vored . A maximum price proxy bidding system is somewhat                         mined time. In the known system , a certain fall-out rate in
inefficient, in that other bidders may test the proxy, seeking                   the actual purchase confirmation may be assumed , and
to increase the bid price , without actually intending to                        therefore some overselling allowed . Further, after a purchase
purchase, or contrarily , after testing the proxy, a bidder 55 is indicate , the user ' s screen is not updated , obscuring the
might give up , even below a price he might have been                            ultimate lowest selling price from the user. However, if the
willing to pay . Thus, the proxy imposes inefficiency in the                     usermaintains a second browser,he can continue to monitor
system that effectively increases the transaction cost .                         the auction to determine whether the product could have
   In order to address a flurry of activity that often occurs at                 been purchased at a lower price , and if so , fail to confirm the
the end of an auction , an auction may be held open until no 60 committed purchase and purchase the same goods at a lower
further bids are cleared for a period of time, even if                           price while reserving the goods to avoid risk of loss . Thus,
advertised to end at a certain time. This is common to both                      the system is flawed , and may fail to produce an efficient
live and automated auctions. However, this lack of deter - transaction or optimal price .
minism may upset coordinated schedules , thus impairing         An Internet declining price auction system may provide
efficient business use of the auction system .            65 the ability to track the price demand curve , providing
   In order to facilitate management of bids and bidding,    valuable marketing information . For example , in trying to
some of the Internet auction sites have provided non                             determine the response at different prices, companies nor
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mally have to conduct market surveys. In contrast , with a          for the auctioneer and for the user. The auctioneer ' s system
declining price auction , substantial information regarding         contains information from a user system based on bid
price and demand is immediately known. The relationship             information entered by the user. With this information , the
between participating bidders and average purchasers can            auctioneer 's system determines whether the auction can be
then be applied to provide a conventional price demand 5 concluded or not and appropriate messages are transmitted .
curve for the particular product.                                   At any point in the auction , bidders are provided the
   U .S . Pat. No. 5 ,835 ,896 , Fisher, et al., issued Nov. 10 ,   opportunity to submit not only their current bids, but also to
1998 , expressly incorporated herein by reference in its            enter future bids, or bidding rules which may have the
entirety, provides method and system for processing and             opportunity to become relevant at future times or prices, into
transmitting electronic auction information over the Internet, 10 the auction system ' s database . Participants may revise their
between a central transaction server system and remote              executory bids, by entering updated bids. Thus , at one
bidder terminals. Those bids are recorded by the system and         extreme, a bidder who wishes to economize on his timemay
the bidders are updated with the current auction status             choose to enter his entire set of bidding rules into the
 information . When appropriate , the system closes the auc -       computerized system at the start of the auction , effectively
tion from further bidding and notifies the winning bidders 15 treating this as a sealed -bid auction . At the opposite extreme,
and losers as to the auction outcome. The transaction server a bidder who wishes to closely participate in the auction may
posts information from a database describing a lot available    choose to constantly monitor the auction 's progress and to
for purchase, receives a plurality of bids , stored in a bid submit all of his bids in real time. See also , U .S . patent
database , in response to the information , and automatically application Ser. No. 08 / 582 ,901 filed Jan . 4 , 1996 , which
categorizes the bids as successful or unsuccessful. Each bid 20 provides a method for auctioning multiple , identical objects
is validated , and an electronic mail message is sent inform -  and close substitutes.
ing the bidder of the bid status. This system employs HTTP ,       E -Commerce Systems
and thus does not automatically update remote terminal             U . S . Pat. No. 5, 946 ,669 (Polk , Aug . 31, 1999), expressly
screens, requiring the e -mail notification feature .           incorporated herein by reference , relates to a method and
   The auction rules may be flexible , for example including 25 apparatus for payment processing using debit-based elec
Dutch - type auctions, for example by implementing a price      tronic funds transfer and disbursement processing using
markdown feature with scheduled price adjustments , and         addendum -based electronic data interchange . This disclo
English - type ( progressive ) auctions, with price increases       sure describes a payment and disbursement system , wherein
corresponding to successively higher bids. In the Dutch type an initiator authorizes a payment and disbursement to a
auction , the price markdown feature may be responsive to 30 collector and the collector processes the payment and dis
bidding activity over time, amount of bids received , and bursement through an accumulator agency . The accumulator
number of items bid for. Likewise , in the progressive       agency processes the payment as a debit - based transaction
auction , the award price may be dependent on the quantity   and processes the disbursement as an addendum -based
desired , and typically implements a lowest successful bid          transaction . The processing of a debit -based transaction
price rule . Bids that are below a preset maximum posted 35 generally occurs by electronic funds transfer (EFT) or by
selling price are maintained in reserve by the system . If a        financial electronic data interchange (FEDI). The processing
certain sales volume is not achieved in a specified period of of an addendum -based transaction generally occurs by elec
time, the price is reduced to liquidate demand above the tronic data interchange (EDI) .
price point, with the new price becoming the posted price .       U . S . Pat. No. 6 ,005, 939 (Fortenberry, et al., Dec . 21,
On the other hand, if a certain sales volume is exceeded in 40 1999 ), expressly incorporated herein by reference , relates to
a specified period of time, the system may automatically       a method and apparatus for storing an Internet user 's identity
increase the price . These automatic price changes allow the and access rights to World Wide Web resources. A method
seller to respond quickly to market conditions while keeping        and apparatus for obtaining user information to conduct
the price of the merchandise as high as possible , to the         secure transactions on the Internet without having to re - enter
seller' s benefit . A “ Proxy Bidding” feature allows a bidder 45 the information multiple times is described . Themethod and
to place a bid for the maximum amount they are willing to         apparatus can also provide a technique by which secured
pay, keeping this value a secret , displaying only the amount       access to the data can be achieved over the Internet. A
necessary to win the item up to the amount of the currently         passport containing user -defined information at various
high bids or proxy bids of other bidders. This feature allows       security levels is stored in a secure server apparatus, or
bidders to participate in the electronic auction without 50 passport agent, connected to computer network . A user
revealing to the other bidders the extent to which they are         process instructs the passport agent to release all or portions
willing to increase their bids, while maintaining control of        of the passport to a recipient node and forwards a key to the
their maximum bid without closely monitoring the bidding .          recipient node to unlock the passport information .
The feature assures proxy bidders the lowest possible price    U . S . Pat. No. 6 ,016 , 484 (Williams, et al., Jan . 18 , 2000 ),
up to a specified maximum without requiring frequent 55 expressly incorporated herein by reference , relates to a
inquiries as to the state of the bidding .                  system , method and apparatus for network electronic pay
   A " Floating Closing Time” feature may also be imple     ment instrument and certification of payment and credit
mented whereby the auction for a particular item is auto -   collection utilizing a payment. An electronic monetary sys
matically closed if no new bids are received within a        tem provides for transactions utilizing an electronic -mon
predetermined time interval, assuming an increasing price 60 etary system that emulates a wallet or a purse that is
auction . Bidders thus have an incentive to place bids expe-        customarily used for keeping money , credit cards and other
ditiously , rather than waiting until near the anticipated close    forms of payment organized . Access to the instruments in
of the auction .                                                  the wallet or purse is restricted by a password to avoid
   U . S . Pat. No. 5 , 905,975 , Ausubel, issued May 18 , 1999 , unauthorized payments. A certificate form must be com
expressly incorporated herein by reference in its entirety, 65 pleted in order to obtain an instrument. The certificate form
relates to computer implemented methods and apparatus for           obtains the information necessary for creating a certificate
auctions. The proposed system provides intelligent systems          granting authority to utilize an instrument, a payment holder
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                                                            US 10 ,237 ,420 B1
                                  15                                                                                16
and a complete electronic wallet. Electronic approval results                  party and guarantee only that overspending is detected when
in the generation of an electronic transaction to complete the                 vendors submit their transaction records to the bank (usually
order. If a user selects a particular certificate , a particular               at the end of the day ). A new " hybrid ” scheme is proposed
payment instrument holder will be generated based on the which combines the advantages of both “ on - line” and “ off
selected certificate . In addition , the issuing agent for the 5 line ” electronic payment schemes . It allows for control of
certificate defines a default bitmap for the instrument asso - overspending at a cost of only a modest increase in com
ciated with a particular certificate, and the default bitmap munication compared to the off-line schemes . The protocol
will be displayed when the certificate definition is com - is based on probabilistic polling. During each transaction ,
pleted . Finally , the number associated with a particular with some small probability , the vendor forwards informa
certificate will be utilized to determine if a particular party 10 tion about this transaction to the bank . This enables the bank
can issue a certificate.                                           to maintain an accurate approximation of a customer ' s
   U .S . Pat . No. 6 ,029 ,150 (Kravitz , Feb . 22 , 2000 ),                  spending. The frequency of polling messages is related to
expressly incorporated herein by reference , relates to a     the monetary value of transactions and the amount of
system and method of payment in an electronic payment overspending the bank is willing to risk . For transactions of
system wherein a plurality of customers have accounts with 15 high monetary value, the cost of polling approaches that of
an agent. A customer obtains an authenticated quote from a    the on - line schemes, but for micropayments, the cost of
specific merchant, the quote including a specification of polling is a small increase over the traffic incurred by the
goods and a payment amount for those goods. The customer                       off - line schemes.
sends to the agent a single communication including a           Micropayments are often preferred where the amount of
request for payment of the payment amount to the specific 20 the transaction does not justify the costs of complete finan
merchant and a unique identification of the customer. The    cial security . In the micropayment scheme, typically a direct
agent issues to the customer an authenticated payment communication between creditor and debtor is not required ;
advice based only on the single communication and secret                       rather, the transaction produces a result which eventually
shared between the customer and the agent and status                           results in an economic transfer, but which may remain
information , which the agent knows about the merchant, 25 outstanding subsequent to transfer of the underlying goods
and / or the customer. The customer forwards a portion of the or services . The theory underlying this micropayment
payment advice to the specific merchant. The specific mer                      scheme is that the monetary units are small enough such that
chant provides the goods to the customer in response to                        risks of failure in transaction closure is relatively insignifi
receiving the portion of the payment advice .                            cant for both parties, but that a user gets few chances to
   U . S . Pat. No. 6 , 047 , 269 (Biffar, Apr. 4 , 2000 ), expressly 30 default before credit is withdrawn . On the other hand, the
incorporated herein by reference , relates to a self- contained                transaction costs of a non -real time transactions of small
payment system with creating and facilitating transfer of                     monetary units are substantially less than those of secure ,
circulating digital vouchers representing value . A digital                    unlimited or potentially high value , real time verified trans
voucher has an identifying element and a dynamic log . The                     actions , allowing and facilitating such types of commerce .
identifying element includes information such as the trans - 35 Thus, the rights management system may employ applets
ferable value , a serial number and a digital signature . The                  local to the client system , which communicate with other
dynamic log records the movement of the voucher through                        applets and/or the server and/or a vendor /rights - holder to
the system and accordingly grows over time. This allows the                    validate a transaction , at low transactional costs .
system operator to not only reconcile the vouchers before                         The following U . S . Patents , expressly incorporated herein
redeeming them , but also to recreate the history of move - 40 by reference , define aspects of micropayment, digital cer
ment of a voucher should an irregularity like a duplicate                      tificate , and on - line payment systems: U .S . Pat. Nos . 5 ,666 ,
voucher be detected . These vouchers are used within a                         416 ; 5 ,677, 955 ; 5, 717 ,757 ; 5 ,793 , 868; 5 ,815 ,657 ; 5 ,839 ,
self- contained system including a large number of remote                      119; 5 ,857 ,023; 5 , 884 ,277; 5 , 903 ,651; 5 , 903 ,880 ; 5 ,915 ,
devices that are linked to a central system . The central                      093 ; 5 , 930 , 777 ; 5 , 933 , 498 ; 5 , 937 , 394 ; 5 , 960 ,083; 5 , 963 ,
system can be linked to an external system . The external 45 924 ; 5, 987 , 132 ; 5 , 996 ,076 ; 6 ,016 ,484 ; 6 ,018, 724; 6 ,021 ,
system , as well as the remote devices, is connected to the 202 ; 6 ,035 ,402 ; 6 ,049,786 ; 6 ,049 ,787 ; 6 ,057 ,872 ; 6 ,058 ,
central system by any one or a combination of networks . The 381 ; 6 ,061,448 ; 6 , 061,665. See also , Rivest and Shamir,
networks must be able to transport digital information , for “ Pay Word and MicroMint: Two Simple Micropayment
example the Internet, cellular networks, telecommunication     Schemes ” (May 7 , 1996 ); Micro PAYMENT transfer Pro
networks, cable networks or proprietary networks . Vouchers 50 tocol (MPTP ) Version 0 . 1 (22 Nov. 1995 ) et seq .,
can also be transferred from one remote device to another www .w3.org / pub /WWW / TR /WD -mptp ; Common Markup
remote device . These remote devices can communicate           for web Micropayment Systems, www .w3 .org / TR /WD -Mi
through a number ofmethods with each other . For example ,                     cropayment-Markup (9 Jun . 1999); “ Distributing Intellec
for a non -face -to - face transaction the Internet is a choice , for          tual Property : a Model of Microtransaction Based Upon
a face- to - face or close proximity transactions tone signals or 55 Metadata and Digital Signatures” , Olivia , Maurizio , olivia
light signals are likely methods. In addition , at the time of a modlang.denison .edu /~ olivia /RFC /09 /, all of which are
transaction a digital receipt can be created which will               expressly incorporated herein by reference .
facilitate a fast replacement of vouchers stored in a lost                  See , also : U . S . Pat. Nos . 4 , 977,595 ; 5 , 224 , 162 ; 5 , 237 , 159 ;
remote device .                                                         5 ,392 , 353 ; 5 ,511, 121 ; 5 ,621 ,201; 5 ,623 , 547 ; 5 ,679,940 ;
  Micropayments                                                      60 5 ,696 , 908; 5 ,754, 939 ; 5 ,768, 385 ; 5 , 799,087 ; 5 ,812 ,668;
  U . S . Pat. No . 5 ,999 ,919 ( Jarecki, et al., Dec . 7 , 1999 ),    5 ,828 , 840 ; 5 , 832,089 ; 5 ,850 ,446 ; 5 ,889 ,862; 5 ,889, 863 ;
expressly incorporated herein by reference , relates to an      5 , 898 , 154 ; 5 , 901,229; 5 , 920 ,629 ; 5 ,926 ,548; 5 , 943 , 424 ;
efficient micropayment system . Existing software proposals 5 , 949,045; 5 , 952,638 ; 5 , 963,648 ; 5 , 978 , 840; 5 ,983 , 208 ;
for electronic payments can be divided into " on - line” 5 ,987 , 140 ; 6 ,002 ,767; 6 , 003 ,765; 6 ,021, 399 ; 6 ,026 ,379 ;
schemes which require participation of a trusted party ( the 65 6 ,029 ,150 ; 6 ,029 ,151 ; 6 ,047, 067; 6 ,047 ,887; 6 ,055,508 ;
bank ) in every transaction and are secure against overspend -  6 , 065 ,675 ; 6 ,072 , 870 ; each of which is expressly incorpo
ing , and "off - line” schemes which do not require a third rated herein by reference . See Also References, below . See
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                                                              US 10 ,237 ,420 B1
                                   17                                                                       18
also , U .S . Pat. Nos. 4,286 ,118 ; 4,677,663 ; 4 ,768,221; 4 ,797 ,                   SUMMARY AND OBJECTS OF THE
911; 4 ,807 ,279; 4 ,852 ,149 ; 4 ,866 ,754 ; 4 ,878 ,243; 4, 894,                              INVENTION
857 ; 4 ,924 ,501; 4 , 930 , 150 ; 4 , 933 , 964; 4 , 935 , 956 ; 4, 941,
168 ; 4 ,958 ,371; 4, 975, 841 ; 4 , 979, 171 ; 4 , 987 ,587 ; 4 , 998 ,         The summary description of the invention herein provides
272 ; 5 , 007,000 ; 5 ,007,078 ; 5 ,014 ,298 ; 5 ,016 ,270 : 5 , 020, 5 disclosure of a number of embodiments of the invention .
095 ; 5 , 020 ,097 ; 5 . 040 .208 : 5 . 048 ,075 : 5 , 063 , 522 : 5 . 070 . Language describing one embodiment or set of embodi
525 ; 5 ,070 ,526 ; 5 ,073,929 ; 5 ,077 ,789; 5 ,081,711; 5 ,097 , ments is not intended to , and does not, limit or constrain the
528 ; 5 , 103 ,449; 5 , 121,422 ; 5 ,128 ,984 ; 5 ,161,181; 5, 163, scope         of other embodiments of the invention .
                                                                               The present invention provides a system and method for
083 ; 5 , 163 , 087 ; 5 , 164 ,981; 5 , 166 ,974 ; 5 , 168 ,517 ; 5 , 185 ,
786 ; 5 ,214 ,688 ; 5 ,218 ,635 ; 5 ,224 , 153 ; 5 ,239 ,574; 5, 251? , 10 munication
                                                                           intelligent communication routing within a low -level com
                                                                                        server system . Therefore , it allows replacement
252 ; 5 ,253, 289; 5 ,276 ,732 ; 5 ,283,818 ; 5 ,289 ,530; 5, 297, or supplementation
146 ; 5 ,297 ,195 ; 5 ,309 ,504 ; 5 ,309,505 ; 5 ,311,574 ; 5,311, e -mail addresses and ofthetelephone          numbers, IP addresses,
                                                                                                      like, to identify targets accessible
577 ; 5 ,313,516 ; 5 ,319 ,703 ; 5 ,321,745 ; 5 ,327 ,490 ; 5, 329, by the system with high - level definitions , which are con
579; 5 , 333 , 190 ; 5 , 341,412 ; 5 , 341,414 ; 5 , 351 ,285 ; 5 , 359, 15 textually interpreted at the time of communications routing ,
645 ; 5 ,365 ,575 ; 5 ,381,470 ; 5 ,390 ,236 ; 5 ,400 ,393 ; 5, 402,          to appropriately direct the communication . Therefore , the
474 ; 5 ,420 ,852; 5 , 420 ,919 ; 5 , 425 ,093 ; 5 , 430 , 792 ; 5 , 432 ,    target of a communication is defined by an algorithm , rather
835 ; 5 ,434 , 906 ; 5 , 436 , 967; 5 , 442 ,693 ; 5 , 448 ,624 ; 5 , 448 ,   than a predetermined address or simple rule, and the algo
631; 5 , 459, 781; 5 , 465, 286 ; 5 , 467, 391; 5 ,479 , 487 ; 5 ,479,        rithm evaluated in real time for resolution of the target, to
501; 5 ,481,596 ; 5, 485,506 ; 5,493,690 ; 5 ,495 ,523 ; 5 ,495 , 20 deliver the communication or establish a real or virtual
528 ; 5, 502 ,762; 5 ,506 ,898 ; 5 ,511, 112 ; 5 ,515 ,421 ; 5 ,517 , channel.
566 ; 5 ,519 ,773; 5, 524 ,140 ; 5,526 ,417 ; 5,528 ,666 ; 5 ,530 ,         Alternately , the intelligence of the server may be used to
931 ; 5,533, 103; 5 ,533 , 107 ; 5 ,533 , 109 ; 5 ,535 ,257; 5, 537, implement telephony or computer- telephony integration fea
470 ; 5 ,544,220 ; 5 ,544,232, 5 ,546 ,452 ; 5 ,546 ,456 ; 5,555 , tures , other than destination or target .
290 ; 5,555, 295 ; 5 ,557 ,668 ; 5 ,559 ,867; 5 ,559 ,878 ; 5 ,561, 25 Therefore , according to the present invention , communi
711: 5 ,568, 540 : 5 ,570 .419 ; 5 ,572 ,576 ; 5 ,572,586 : 5 ,574,       cations are , or may be, routed or other telecommunications
784 ; 5 ,577 ,112 ; 5,579,377 ; 5,579,383 ; 5 ,581,602; 5 ,581, relativelyfeatures implemented, inferentially or intelligently, at a
604 ; 5 ,581,607; 5 , 586 ,179 ; 5 ,588, 049; 5 ,590 , 171; 5 , 592 ,                low level within the communicationsmanagement
543 ; 5 ,594 ,790 ; 5 ,594 ,791; 5 ,600 ,710 ; 5 ,610 ,774 ; 5 ,610 ,     architecture . For example, in a call center, the software
978 ; 5 ,619,557 ; 5 ,625 ,676 ; 5 ,625,682 ; 5 ,633,917 ; 6626
                                                             5,636 , 3030 system which handles virtual or real circuit switching and
                                                                              management resolves the destination using an algorithm or
267; 5 ,636 , 268 ; 5 ,638 , 436 ; 5 ,646 , 986 ; 5 ,646 , 988 ; 5 ,652,      the like, rather than an unambiguous target.
788 ; 5 ,655 ,013 ; 5 ,655 ,014 ; 5 ,657 , 074 ; 5 ,661, 283 ; 5 ,675 ,     An embodiment according to the present invention , the
637 ; 5 ,684 , 863 ; 5 ,687 ,225 ; 5 ,692 ,033 ; 5 ,692 , 034 ; 5 ,696 ,
809 ; 5 ,696 ,818 ; 5 ,699 ,418 ; 5 ,701, 295 ; 5, 703, 935 ; 5,717 ·, 35 together over
                                                                          control        switching in a circuit switch is partitioned
                                                                                    with intelligent functions.
741 ; 5,724 ,418 ; 5 ,727 , 154 ; 5 ,729 ,600 ; 5 ,740 ,233; 5, 742,         Intelligent functions include , for example , but are not
675 ; 5 ,748 ,711 ; 5 ,761,285 ; 5 , 768 ,355 ; 5 ,774 , 537; 5 ,787 ,          limited to , optimizations , artificial neural network imple
156 ; 5 ,787, 159; 5 ,793 ,846 ; 5 ,796 ,791; 5 ,796 ,816 ; 5 ,799 , mentation , probabilistic and stochastic process calculations,
077 ; 5 , 806 , 071; 5 ,812 ,642 ; 5 ,815 , 551 ; 5 ,815 , 554 ; 5 ,815 ,       fuzzy logic , Bayesian logic and hierarchicalMarkov models
566 ; 5 , 822 ,400 ; 5 , 822 , 401; 5 , 822 ,410 ; 5 , 825 , 869 ; 5 , 828 , 40 (HMMs), or the like.
731; 5,828,734 ; 5,835 ,572 ; 5,838 ,772 ; 5,838, 779 ; 5,841,                   A particularly preferred embodiment provides a skill
852; 5 ,848, 143; 5 ,850,428 ; 5 ,854,832 ; 5 ,857,013 ; 5 ,867,              based call automatic call director for routing an incoming
559 ; 5,867,564 ; 5,867,572 ; 5,872 ,833 ; 5,878 ,126 ; 5,893 ,               call in a call center to an appropriate or optimal agent. While
902; 5 ,894 ,505 ; 5 ,896 ,446 ; 5 , 898 , 759 ; 5 , 898 , 762 ; 5 , 901,     skill - based routing technologies are known in the art, the
209 ; 5 ,903 ,641; 5, 905, 979 ; 5, 907,601; 5 , 912 , 947; 5 ,913 , 45 intelligence for routing the call is separate from the voice
195 ; 5 ,914 , 951; 5 ,917 ,893 ; 5 , 918 ,213 ; 5 , 923 , 746 ; 5 , 924 ,    routing call management system . Thus , the prior art provides
016 ; 5 ,926 ,528 ; 5 ,930 ,339 ; 5 ,933 ,480 ; 5 ,937 ,055 ; 5 , 937 ,       a separate and distinct process , and generally a separate
390 ; 5 ,940 ,493 ; 5 ,940 ,497 ; 5 ,940 ,813 ; 5 ,943 ,403 ; 5, 946 , system or partition of a system , for evaluation of the skill
388 ; 5 , 946 ,394 ; 5 , 949 ,852 ; 5 , 949 ,854 ; 5 , 949,863; 5 , 956 , based routing functionality . For example , while the low level
392 ; 5 , 963,635 ; 5 ,966 ,429; 5,970 ,132 ; 5,974, 120 ; 5 ,974 , 50 voice channel switching is performed in a PBX , the high
135 ; 5 ,978,465 ; 5 , 978 ,467; 5 , 978 ,471; 5 , 982,857 ; 5 , 987 ,        level policy management is often performed in a separate
115 ; 5 , 987, 116 ; 5 , 991, 393 ; 5 ,991,604; 5 ,991,761; 5 , 995 ,         computer system , linked to the PBX through a packet
948; 6 ,002 ,760 ; 6 , 005 ,534 ; 6 ,005, 928 ; 6 ,009, 149 ; 6 ,011 ,        switched network and / or bus data link .
845 ; 6 ,014 ,439 ; 6 ,016 ,344 ; 6 ,018,579 ; 6 ,021, 114 ; 6 ,021 ,            The present invention , however, integrates evaluation of
190 ; 6 ,021 ,428 ; 6 ,026 , 149 ; 6 ,026 , 156 ; 6 ,031,899 ; 6 , 035 , 55 intelligent aspects of the control algorithm with the com
021; 6 , 041, 116 ; 6 , 041, 118 ; 6 ,044, 135 ; 6 ,044 , 149 ; 6 ,044,       munications management. This integration therefore allows
368 ; 6 ,049 ,599; 6 ,052 ,453; 6 ,055 , 307 ; 6 , 058 ,435 ; 6 , 064 ,       communications to be established based on an inferential
730 ; 6 ,064 ,731 ; 6 ,064 , 973 ; 6 ,067,348 ; 6 ,070 , 142; 6 , 084 , description of a target, rather than a concrete description,
 943; 6 , 097 ,806 ; 6 ,098 ,069; 6 , 102, 970 ; 6 , 115 ,693; 6 , 122 ,       and allows a plurality of considerations to be applied , rather
358; 6 , 122, 364 ; 6 , 122 ,484 ; 6 , 125 , 178 ; 6 , 128 ,376 ; 6 , 130 , 60 than a single unambiguous decision rule.
937 ; 6 , 134, 530 ; 6 , 137 , 862; 6 , 137, 870 ; 6 , 144 ,737; 6 , 148,        An aspect of the present invention therefore proposes an
065 ; 6 , 151, 387; 6 , 154 ,528 ; 6 , 154 ,535 ; 6 , 157 ,711 ; 6 , 170 ,     architectural change in the computer telephony integrated
011; 6 , 173, 052 ; 6 , 178 ,240 ; 6 , 185 ,283; 6 , 192, 121 ; 6 , 192 , (CTI) systems, wherein the CTI host takes on greater
413 ; 6 ,201, 950 ; 6 ,205 , 207; 6 ,208 ,970 ; 6 ,212 , 178 ; 6 ,226 , responsibilities, for example intelligent tasks, than in known
287 ; 6 ,226 ,360 ; 6 ,229 ,888 ; 6 ,230 , 197 ; 6 ,243 ,684; RE35758; 65 systems. In this case, the host is , for example, a PC server
RE36416 ; RE37001; each of which is expressly incorpo - having a main processor, for example one or more Intel
rated herein by reference .                                                    Pentium 4 Xeon or AMD Athlon MP processors , and one or
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                                                        US 10 ,237 ,420 B1
                                                                                                      20
more voice channel processors , such as Dialogic D /320 - PCI             tions may be quite persistent, for example over a particular
or D / 160SC /LS, or PrimeNet MM PCI, or the like. In this                 campaign , call center, or even multiple call centers and
type of system , the voice channel processor handles con -                multiple campaigns. The skills generally are not subject to
nections and switching , but does not implement control. The              change after being defined , although through advanced
control information is provided by the main processor over, 5 processing or reprocessing of data, clusters in multidimen
for example , a PCI bus , although some or all control sional space may be defined or revised , representing “ skills ” .
information may also be relayed over a mezzanine bus. Likewise, a manual process may be employed to define the
Because the actual voice channel processing is offloaded                  skill set.
from the main processor, real time response with respect to
voice information is not required . Therefore , the main pro - 10 theNext, for any given task , the skills are weighted . That is ,
                                                                      importance of any skill with respect to the task is defined
cessor may operate and be controlled by a standard operat                 or predicted . This may also be a manual or automated
ing system , in contrast to a real timeoperating system . While           process. In the case of an automated process for weighting
the control processor does operate under certain latency
constraints, these are quite long as compared to the response             the skills, past tasks similar in nature are analyzed to
latency required of the voice channel processors . This , in 15 determine
                                                                de        which skills were involved , and to what extent.
turn , allows the main processor( s ) to undertake a plurality of         typically, since the skill set definitions are normative , the
tasks which are not deterministic , that is , the time required           task - skill relationships are derived from data for various or
to complete processing of a task is unknown and is not                    all agents, and need not be limited to the data pertaining to
necessarily completed within a time window . However, by                   a single or respective agent. The weighting may be adaptive ,
using state of the art processors, such as a 3 . 06 GHz Pentium 20 that is , the weighting need not be invariant, and may change
processor, the amount of processing which may be under                     over time based on a number of factors . The weightings may
taken , meeting a reasonable expectation of processing                     also be time dependent, for example following a diurnal
latency, is substantial. Thus , operating under the same                  variation .
instance of the operating system , for example sharing the                   Each agent is assigned a metric with respect to each skill.
same message queue , as the interface between the main 25 This process may be manual or automated , however , a
processor and the voice channel processor ( s ), the system               number of advantages accrue from an automated analysis of
according to the present invention may process advanced                    agent skill level . Typically, an initial skill level will be
and complex algorithms for implementing intelligent con                   assigned manually or as a result of an off - line assessment. As
trol. This architecture reduces the required bandwidth for                the agent is presented with tasks, the proficiency of the agent
communications with an external high level management 30 is analyzed , and the results used to define skill - specific
system , as well as the processing load thereon . Likewise ,              metrics. As stated above, since the skill definitions are
since significant decisions and resource allocations are made             normative, the skills of one agent are compared or compa
within the switching system , the need for high quality of                 rable to skills of others . For example , the skill sets are
service communications channels between the switching                      assigned using a multivariate analysis technique , based on
system and management system is also reduced .                         35 analysis of a plurality of transactions, predicting the best set
   Preferably , the intelligent algorithm for controlling the             of skills consistent with the results achieved . In this analysis ,
voice channels requires minimal access to a disk or mass -                each skill metric may be associated with reliability indicia ;
storage based database . That is , for any transaction to be              that is, in some instances, where the outcome of clearly
processed , preferably either all information is available to             determinable, and a skill as defined is highly correlated with
the main processor at the commencement of the process , or 40 the outcome, the reliability of the determined skill value for
an initial request is made at commencement of the process,                a statistically significant sample size is high . On the other
with no additional requests necessary to complete the pro -               hand, where a particular skill is relatively unrelated to the
cess, although a stored database may be updated at the                    tasks included within the data analysis set, that is, the
conclusion of the process . For example , as a call is received ,         outcome factor is relatively uncorrelated with the value of
sufficient information is gathered to define the caller , either 45 the skill, the reliability of a determination of an agent skill
by identity or characteristics . This definition may then                 will be low .
trigger an initial database lookup , for example to recall a                 A related issue relates to inferring an agent skill level for
user transaction file or a user profile . Preferably , therefore , a       a skill parameter where little or no data is available . For this
table or other data structure is stored in low -latency memory,           task , collaborative filtering may be appropriate . A collab
for example , double data rate dynamic random access 50 orative filter seeks to infer characteristics of a person based
memory (DDR -RAM ), which holds the principal parameters                  on the characteristics of others having similar associated
and information necessary for execution of the algorithm .                parameters for other factors . See references cited and incor
Therefore , preferably agent and system status information is             porated by reference above . In this case , there is only a small
present and maintained locally , and need not be recalled for analytic difference between a parameter for which data is
each transaction.                                            55 available from a respective agent, but yields an unreliable
  According to a preferred embodiment of the invention, a measurement, and a parameter for which data is unavailable ,
process is provided for optimizing the selection of an agent              but can be inferred with some reliability . Therefore , the skill
within the voice channel switching system . This process is               determining process may employ both techniques in a
a multi- step process. Only the later part of the process                 composite ; as more data becomes available relating to an
generally need be completed in a time-critical fashion , e . g ., 60 actual skill level of an agent with respect to a skill parameter,
as a foreground task . The initial part(s ) of the process may            reliance on inferred skill levels is reduced . It is therefore an
be implemented over an extended period of time, so long as                aspect of one embodiment of the invention that a collabora
the data available for transactions is sufficient current to             t ive filter is used to infer agent skill levels where specific
avoid significant errors .                                     data is unavailable . It is also an aspect of an embodiment of
   First, a set of skills are defined , which are generally 65 the invention that in addition to a skill level metric, a
independent skills , although high cross correlations between             reliability estimate for the measurement of the skill level
skills would not defeat the utility thereof. The skill defini -           metric is also made available .
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    It is noted that in defining a desired agent profile for a automatically defined and submitted on behalf of an agent .
task , the skill metrics themselves are subject to unreliability. The bid may be defined based on an economic or other
 That is , the target skill levels themselves are but an estimate criteria.
or prediction of the actual skills required . Therefore, it is       The optimization of agent selection may also be influ
also possible to estimate the reliability of the target skill 5 enced by other factors, such as training opportunities. There
level deemed desired . Where the target skill level is low or fore, in determining a cost benefit of selection of a particular
its estimate unreliable, two separate and distinct parameters, agent    , a training cost/benefit may also be included .
                                                                     Thus , according to a simplistic analysis , the agent with the
the selected agent may also have a low or unreliably highest                score is selected . This is, indeed an " optimum ”
determined skill level for that attribute . On the other hand,
where a skill is reliably determined to be high , the agent skill11 10 condition , assuming that there is uniform incremental cost in
                                                                       selecting each agent, and that the system remains static as a
profile should also be high and reliably determined .
                                                                     result of the selection . On the other hand, if agent costs
   In other instances, the metric of skill does not represent adiffer , or the system status is materially altered on the basis
quantitative metric , but rather a qualitative continuum . For of  the selection , or there are extrinsic factors, such as
example , the optimal speech cadence for each customer may 15 training, then the optimum may also differ.
differ. The metric , in this case, represents a speech cadence    A number of factors may also influence optimality of
parameter for an agent. The idea is not to maximize the selection . While most are merely business - based consider
parameter, but rather to optimize it. Therefore, reliability in      ations, somemay be politically incorrect (bad public policy ),
this instance does not equate to a reduction in estimated            or even illegal. For example , an optimization may take into
magnitude. It is also noted that a further ancillary parameter 20 account discrimination on an illegal basis, resulting in harm
may be applied for each skill, that is , tolerance to mismatch .     to either callers or agents within a protected class . That is ,
For example, while call received by a call center, for               a traditionally discriminated -against minority may be sub
technical support , may seek an agent who is more knowl-             jected to automated and institutionalized discrimination as a
edgeable than the caller is with respect to the problem , but        result of an algorithm which favors a discriminatory out
not one who is so far advanced that a communication gap 25 come. In fact , the discriminatory outcome may be both
would be apparent. Thus, an optimum skill parameter as well          efficient and optimal, under an economic or game theory
as a range is defined . In like manner, other descriptors of a       analysis . However, this may be undesired . One way to
statistical function or distribution may be employed , for counteract this is to estimate the discriminatory impact of
example, kurtosis and skew .                                 the algorithm as a whole and apply a global antidiscrimi
   It is noted that there are a number of ways of scoring 30 natory factor. While this has the effect of correcting the
outcome of a call, and indeed , a number of parallel scoring situation on an overall level, it results in significant ineffi
systems may be employed , although they should be consis -   ciencies, and may result in a redistribution in an “ unfair "
tently applied ; that is, if an agent is selected for handling a    manner. Further, the antidiscriminatory factor is itself a form
call based on one paradigm , care should be employed in              of discrimination .
scoring the agent or the call outcome using a different 35 Another method for approaching this problem is to ana
paradigm . Such cross analyses, however, may be useful in    lyze the profile or skill vectors a the presumably discrimi
determining an optimum outcome analysis technique.           nated -against agent or customer classes, and compare this to
   When a new matter is to be assigned to an agent, the pool the corresponding vectors of non - discriminated -against
of agents are analyzed to determine , based on the predefined        class of agents or customers . Assuming that discrimination
skills , which is the best agent. Selecting the best agent for a 40 occurs on a class basis , then , a corrective factor may be used
task is dependent on a method of scoring outcome, as                 to normalize components of the vector to eliminate the
discussed above . In some instances , there is a relatively          discriminatory effect.
simple process. For example , agents entrusted to sell a single           further method of remediating the perceived discrimi
product can be scored based on number of units sold per unit         nation is through training . In this case , the presumably
time, or the time it takes to close a sale . However , where 45 objective outcome determinations are not adjusted , nor is the
different products are for sale, optimization may look at            " economic ” model for optimal agent selection disturbed .
different parameters , such as call duration , revenues per call     Instead , a mismatch of the skill profile of an agent with the
or unit time, profit per call or unit time, or the like . As the     caller is used as an opportunity to modify behavior (pre
variety of options for a user grows, so does the theoretical       sumably of the agent), such that the deficiency is corrected .
issues involved in scoring an agent.                             50 For example , a call center agent may have a characteris
    It is also possible for agents to engage in an auction ; that tically ethnic accent. In one case , the agent accent may be
is, agents bid for a caller. In this case , an agent must be matched with a corresponding caller accent, assuming that
sufficiently competent to handle the call based on the infor-        data shows this to be optimum . However, assuming that
mation available , and agents with skills far in excess of those     vocal ethnicity relates to socioeconomic status, the result
required may be excluded from the bidder pool. For 55 may be that the value of the transaction ( or other score
example , agents may be compensated on a commission                  value ) is associated with this status. The goal would there
basis. The bidding may involve an agent bidding a commis -           fore be for the agent to retrain his or her accent, and indeed
sion rate ( up to the maximum allowed ) . In this way, the           use a different accent based on an inferred optimal for the
employer gets the benefit of competition between agents .            caller, or to overcome this impediment by scoring well in
The bid , in this instance , may be a manual process entered 60 transactions involving those other than a " corresponding”
into by the agent as a prior call is being concluded .               accent. Each of these is subject to modification through
    The bid may also be automatically generated at an agent agent training .
station , based on both objective and subjective factors. See ,        Therefore , it is apparent that the optimization may be
U .S . Pat. No. 9 , 818 , 136 , (Hoffberg ), expressly incorporated influenced by economic and non - economic factors , and the
herein by reference, and Steven M . Hoffberg , “Game Theory 65 optimization may include objective and subjective factors.
in the Control of Ad Hoc Networks” , Wireless Systems                  The system may also intelligently analyze and control
Design 2004 (San Diego , March 8 ). That is, a bid may be other aspects of telecommunications besides call routing .
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For example, it is particularly advantageous to characterize           Wherein Acn and Acn2 are agent cost factors for agent n .
the caller, especially while the call is in the queue. However,      To determine the anticipated cost, one might, for example ,
increasing the amount of information which must be com              divide the daily salary by the average number of calls per
municated between the switch control and a high - level             day handled by the agent. This, however, fails to account for
system is undesirable , thus limiting the ability to extract 5 the fact that the average length of a call may vary based on
low - level information from the caller. Such information may       the type of call, which is information presumed available ,
include preferred language , a voice stress analysis, word          since the skill set requirements are also based on a classi
cadence , accent, sex , the nature of the call (IVR and/ or          fication of the type of call. Further, an agent highly skilled
speech recognition ), personality type, etc . In fact, much of      in some areas may be relatively unskilled in others , making
this information may be obtained through interaction and/ or 10 an average call duration or average productivity quite mis
analysis of the caller during the queue period . Further, in        leading . Another cost to be considered is training cost. Since
some instances, it may be possible to resolve the caller 's         this is generally considered desirable , the actual value may
issues without ever connecting to an agent, or at least to          be negative, i.e ., an unskilled trainee may be selected over
determine whether a personal or automated resolution is              a highly skilled agent, for a given call, even though the
preferred . According to an aspect of the invention , the 15 simple incremental agent costs might tend toward a different
switch itself may control and analyze the interaction with the result . Likewise , selection of an agent for a certain callmay
caller. Advantageously , the switch may further perform a           be considered a reward or a punishment for good or bad
sensitivity analysis to determine which factors relating to the     performance , and this may also be allocated a cost function .
call are most useful with respect to selecting an appropriate        The key here is that all of these disparate factors are
agent, and more particularly by limiting this analysis to the 20 normalized into a common metric , " cost " , which is then
agents within the pool which are likely to be available .           subject to numeric analysis . Finally, the optimization may
Further information characterizing the user may also be             itself evolve the skill sets and cost function , for example
gathered to construct a more detailed user profile .          through training and reward /punishment.
  It is noted that, in some cases , a caller prefers to remain   The cost of the “ connection ” between a caller and an
passive in the queue, while in other instances, the caller 25 agent may also be considered , for example in a multi
would prefer to actively assist in optimizing the experience. location call center, or where agents are compensated on a
This does not necessarily correlate with a universal caller         per-call basis .
profile , nor the optimal selection of agent. This can be              Another factor to be considered in many cases is antici
quickly ascertained , for example through IVR .               pated outcome. In some instances, the outcome is irrelevant,
   It is noted that an efficient analysis performed by the 30 and therefore productivity alone is the criterion . On the other
switch may differ from an efficient analysis performed or hand, in many cases, the agents serve a business purpose ,
controlled by a high level system . For example, a high level       and call outcomes may be graded in terms of achieving
system may employ speech recognition technology for each            business goals . In many instances , the business goal is
caller in a queue. The switch ,on the other hand , would likely     simple an economic parameter, such as sales volume, profit ,
not be able to implement speech recognition for each caller 35 or the like, and may be directly computed within a cost
in a large queue internally. Further, since the profile of the       function normalized in economic units . On the other hand ,
caller and the correspondence thereof to the agent skill             some business goals , such as customer satisfaction , must be
profile , as well as the correlation to the outcome, is depen -     converted and normalized into economic terms prior to use
dent on the selection of characteristics for analysis and           in an optimization . In any case , the expected outcome
outcome metric , the parameters of each , according to the 40 resulting from a particular agent may be added as a factor in
present invention , will also likely differ.                  the cost function .
  Returning now to the problem of routing a call using an              Another factor to consider in making a selection of an
intelligent switch , the condition of optimality in the case of     agent in a multi- skill call center is the availability of agents
equal incremental cost, a stationary system condition as a           for other calls , predicted or actual. Thus , while a selection of
result of the selection , and scalar skill parameters having a 45 an agent for one matter may be optimal in a narrow context,
magnitude correlated to value , is denoted by the formula :        the selected agent might be more valuable for another
      An=Max E (r5qA »$;)                                          matter. Even if the other matter is predicted or statistical , in
                                                                   some instances it is preferred to assign more specialized
  Which denotes that Agent “ n ” is selected by maximizing agents to matters that they can handle , rather than assigning
the sum , for each of the required skills sí, of the product of 50 multitalented agents .
weighting for that skill rs ;, and the score for agent n a , si .     This is represented as follows:
   As stated above, this optimization makes two very impor
tant, and not always applicable assumptions. First, more                Ar =Max <({[Acn12(rs a»8;)+ AC12]+ Bc }+ Ccm )+ DC->
highly skilled agents often earn higher salaries . While , once      Wherein B represents a term for the anticipated change in
scheduled , presumably the direct cost is fixed , over the long 55 value of agent n as a result of the selection , C . represents a
term , the pool of agents must be adjusted to the require term which indicates the anticipated value of the transaction
ments , and therefore the selection of an “ expensive ” agent resulting from the selection ofagent n , and D represents the
leads to increased costs . On the other hand, by preferentially opportunity cost for allocating agent n to the particular call.
selecting the skilled agent over the unskilled agent, the job       In the case of competing requests for allocation , a slightly
experience for the skilled agentmay be diminished , leading 60 different formulation of the problem may be stated . In that
to agent retention problems. Likewise, the unskilled agent is    case , one might compare all of the cost functions for the
not necessarily presented with opportunities for live train     matters in the queue with respect to each permissible pairing
ing. Thus, it is seen that the agent cost may therefore be a        of agent and matter. Instead of selecting an optimal agent for
significant variable .                                          a given matter, the system selects an optimal pairing of
   The formula is therefore modified with a cost function as 65 respective multiple agents with multiple matters . In the case
follows:                                                            of a call center, often the caller hold time is considered a
      A -= Max [AC 13 (rs,a„ ;)+ AC,2]                              basic criterion for selection . In order to weight this factor, for
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example , the cost function includes an allocation for caller conditions change , for example , further calls are added to
hold time, and possibly a non -linear function is applied        the queue, or calls are completed , the optimizations may be
 Thus, a caller may be taken out of order for paring with an     recomputed .
optimal agent.                                                      For example , in a call center with 500 agents, each
   In some cases, the variance of a parameter is also con - 5 classified with respect to 32 skills, with an average of 2000
sidered , in addition to its mean value . More generally , each calls into thebe queue, with about 50 agents available or antici
parameter may itself be a vector, representing different pated                   available at any given time, the computational
                                                                 complexity for each optimization is on the order of 160x106
aspects .
   It is noted that the various factors used in the system may (2000x50x50x32         ) multiplies, generally of 8 -bit length . A 2
be adaptive, that is , the predicted values and actual values 10 GHz   Pentium 4 processor, for example , is capable of theo
                                                                 retical performance of about 2400 MFLOPS . Using a sim
are compared , and the formula or variables adjusted in a plified
manner which is expected to improve the accuracy of the the raw calculation            , this means that less than about 10 % of
                                                                            capacity of this processor would be required , and
prediction . Since outcome is generally measured in the same more powerful processors are being introduced regularly.
metric as the cost function , the actual cost is stored along 15. For example, a 3 . 06 GHZ Pentium 4 processor with “ hyper
with the conditions of the predictive algorithm , and the threading” has recently been introduced . In fact, in real
parameters updated according to a particular paradigm , for world situations, the processor would likely not be able to
example an artificial neural network or the like. Typically, achieve its benchmark performance , but it is seen that a
there will be insufficient data points with respect to a system         single modern processor can handle , in near real time, the
considered static to perform an algebraic optimization .             20 required processing . Coprocessing systems are available
   The present invention provides cost function optimization           which increased the processing capability , especially with
capabilities at a relatively low level within the call routing         respect to independent tasks, while allowing all processes to
system . Thus, for example , prior systems provide relatively  be coordinated under a single operating system . For
high level software , operating on massive customer relations example , Microsoft Windows and Linux both support mul
management (CRM ) database systems, to seek optimization . 25 tiprocessing environments , in case increased processing
   On the other hand, according to the present invention , the capacity is required .
parameters are supplied in advance, generally in a batch                  On the other hand, if a high level CRM system is
format, to the low level routing and computer integrated                interrupted to process each call event to globally reoptimize
telephony (CTI) software, which computes the cost func                  agent selection , and communicate this with the CTI soft
tions . Call outcome data is generally available during and 30 ware , a significant communication and transaction burden
after a call to the high level software, which can then set or         would be encountered .
adjust values as necessary for the future.                                 Thus, the present invention proposes that the skill -based
   It is noted that, generally , the architecture according to the      call routing algorithm be executed in conjunction with the
present invention would not generally provide agent sched -             low level CTI process, as an integral part of the call routing
uling information , since this represents a task separate from 35 function . Likewise , other call - process related algorithms
the call routing functions. Therefore , known systems which may be implemented , in addition to or instead of a call
integrate both tasks are typically distinguished from the               routing calculation .
present invention . However , it would be possible as a                    Advantageously , for example in many non -adaptive sys
separate process for this to be performed on the telephony              tems, no high level CRM system is required , and the entire
server according to the present invention . More generally , 40 skill -based routing functionality may be implemented in the
the updating of agent skill tables or a database , and agent           CTI system , saving significant hardware expense and soft
scheduling and call center management, are performed on                ware complexity . Thus , where the cost function is relatively
high level systems which are discrete from the telephony                simple to calculate , the skills required for the call and the
server. These systems typically access large databases , gen            skills of each respective agent well known and relatively
erate reports, and integrate many different functions inde- 45 constant, a simple database may be provided for the CTI
pendent of the communications functions .                      platform to route calls intelligently .
   The advantage of a preferred architecture according to the     Another aspect of the invention provides optimization of
present invention is that when a call is received , it can be           communications management based on adaptive param
routed in real time, rather than after a possibly significant           eters , e. g ., not only on the existing skills of the respective
delay . Further, this data processing partition reduces data 50 agents , but rather also based on an anticipated or predicted
communications bandwidth requirements and reduces trans -               change in the agent 's skills as a result of handling the call .
actional load on the CRM system . In addition , this archi-             Likewise , when considering an overall cost function for
tectural partition reduces the need for the CRM system to be            optimizing call directing , any variety of factors may be
involved in low level callmanagement, and reduces the need      considered within its context. Therefore , it an another object
for the CTI software to continually interact with the high 55 to provide a consolidated cost function for communications
level CRM software . This , in turn , potentially allows use of management, wherein pertinent factors or parameters are or
simple architecture CTI platforms using standard operating may be expressed in common terms, allowing unified con
systems.                                                        sideration . According to a preferred embodiment of the
   According to a preferred embodiment, the matter skill        invention , this is handled at a low level within the commu
requirements , agent skill data , and other parameters , are 60 nicationsmanagement system , although various aspects may
provided to the CTI software , for example as an ASCII table .         be handled in real time or otherwise at various levels of the
The CTI software may, for example , invoke a subprocess for             communications management system .
each call received or in the queue, to determine the then -               In the case of real time communications, such as tradi
optimum agent selection , for a local optimization , i.e ., a           tional voice telephony , the switching must by definition
selection of the optimal agent without regard for the effect 65 occur in real time, so must the resolution of the parties to the
of this selection on other concurrent optimizations. In order           communication . Therefore , another aspect of the invention
to globally optimize, the processing is preferably unitary . As         involves communications and coordination in real time of
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the various system components, including the low level              present invention by avoiding the need for remote commu
system . Preferably , the data upon which an optimization is        nications of the call parameters and the resulting commu
based is available locally to the low level system before a         nications and processing latencies. Of course , in certain
real time communication is received , so that external com          tightly coupled environments, the target resolution may be
munications to resolve the target are minimized . In some 5 performed on a physically separate processor or system from
cases, communications with other system components will             the low level call processing , without deviating from the
still be required , but preferably these do not require essen -     essential aspects of embodiments of the invention .
tially non -deterministic systems to respond prior to resolu           In many cases , the caller characteristics and issues will
tion .                                                         often have a significant effect on the duration of the call .
   Another aspect of the invention seeks to optimize long 10 While , in general, more skilled agents will have a higher
term call center operations , rather than immediate efficiency productivity , in some cases, the caller restricts throughput.
per se. Thus, at various times , the system performs functions      Therefore , even though the agent is capable of completing
which are different or even opposite the result expected to         the call quickly , the caller may cause inordinate delays .
achieve highest short term efficiency . Preferably , however,       According to the present invention , through a number of
during peak demand periods, the system assures high short 15 methods, the caller characteristics are determined or pre
term efficiency by switching or adapting mode of operation .        dicted , and an appropriate agent selected based on the
   Therefore, according to the present invention , a number of      anticipated dynamic of the call . Thus , for example , if the
additional factors are applicable , or the same factors ana -       anticipated call duration for a successful outcome, based on
lyzed in different ways , beyond those employed in existing         the caller characteristics is a minimum of 5 minutes (de
optimizations. Since most call centers are operational for 20 pending on the agent), then an agent who is likely to
extended periods of time, by analyzing and optimizing               complete the call in about 5 minutes may be selected as the
significant cost factors beyond those contemplated by the           optimum ; agents who would be able to complete the call
prior art, a more global optimization may be achieved               within 4 minutes, while technically more productive , may
   In a service environment, the goal is typically to satisfy have little impact on the actual call duration , and thus would
the customer at lowest cost to the company . Often , this 25 be inefficiently employed . Likewise, an agent anticipated to
comes through making a reasonable offer of compromise complete the call in 6 minutes mightbe deemed inefficient,
quickly, which requires understanding the issues raised by depending on the availability of other agents and additional
the customer. Delay leads to three costs : the direct and criteria . The call may be selected as a training exercise. In
indirect operations cost; the possibility of increased         this case , an agent is selected for training whom would be
demands by the customer (e .g ., impaired business marginal 30 expected to operate with a certain degree of inefficiency to
utility of the communication ); and the customer satisfaction  complete the call. In some cases, unsupervised training is
cost .                                                              instituted . In other cases, a training agent ( or automated
   In technical support operations , the agentmust understand       system ) is allowed to shadow the call, providing assistance ,
the technical issues of the productor service. The agentmust        instruction and /or monitoring of the trainee agent during the
also understand the psychology of the user, who may be 35 call. In this case , it would be anticipated that the call
frustrated , angry , apologetic , or even lonely . The agent must   duration would be greater than 5 minutes, due to the training
often remotely diagnose the problem , or understand the             nature of the call. Further, the required trainer assistance
information provided by the caller, and communicate a                further reduces immediate efficiency.However, as the agents
solution or resolution .                                        in the pool become more skilled , long term efficiency
   In some instances , these seemingly abstract concepts are 40 increases.
represented in relatively basic terms at the communications           Preferably , these characteristics are extracted through an
server level. For example , the cadence of a speaker may be         analysis, by the communications control system , of the
available by a simple analysis of a voice channel for silence available data , although where appropriate , reference to
and word rate . Stress may also represented in a spectral higher level systems may be performed . Thus , in an inter
analysis of voice or in other known manner. Alcoholism or 45 active voice ( or key ) response system , there may be sufli
other impairment may be detected by word slurring , which           cient time and resources available to query a high level
may also be detected by certain signature patterns in the           system for data or request analysis relating to a call. How
voice pattern .                                                     ever, in many instances , significant analysis may be per
   It is noted that, in some instances , the skill related          formed using the computing resources and information
parameters are not independent . That is , there is a high cross 50 available to the low level communication processing system .
correlation or other relationship between the parameters . In       Even where the information is not available , a DNIS or other
other instances , there are non -linearities in the process. A      type of lookup may provide this information based on a
simple summing ofmagnitude times weight for these param -           relatively simple query .
eters may introduce errors . Therefore, a more complex                More highly skilled agents are both worth more and
algorithm may be employed , without departing from the 55 generally command higher compensation . A program which
spirit or scope of the present invention .                        trains agents internally is either required , due to lack of
   Likewise , for each caller profile class , a different optimi- specific external training programs, or is cost effective , since
zation may be employed . There are some traits , such as            new hires can be compensated at a lower rate than trained
alcoholism , which may alter the optimal selection of agent, and experienced hires . Thus , for long- term operations, there
all other thing being equal.                                60 is an incentive to train agents internally , rather than seeking
   Therefore , communications routing on seemingly sophis -         to hire trained agents . Therefore , according to another aspect
ticated or abstract concepts may be efficiently handled at a        of the invention , such training , past present and/ or future, is
low level without interrupting the basic call processing            monetized and employed in optimization of a cost function .
functions or requiring non - standard hardware . In this sense ,   Agents may receive additional compensation for training
" non -standard ” refers to a general purpose type computing 65 activities, either for their training activities, performance
platform performing the communications routing functions. based compensation based on the improvement of their
In fact, efficiency is generally enhanced according to the          trainees, or both . Thus, there is an incentive for agents to
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become skilled and to assist in the training. As a result, the       hand , corresponding skill routing functions may be per
average skill level and uniformity in a call center will             formed by the communications processing system for both
increase . However , since the optimal skill palette within a        outbound and inbound communications , thus permitting a
call center typically is a moving target , the training process      simplification of the external supporting systems.
will never cease.                                                       An embodiment of the present invention provides an
   Often , live interaction is an important component of             Internet Protocol based communications architecture , per
training. Therefore, a significant component of the training         mitting geographically dispersed physical communications
encompasses interaction with callers in real-world situa -            locations to act as a single coordinated entity . In order to
tions . Training often involves presenting agents with new            centrally manage a queue , the various pieces of information
challenges and experiences in order to assure breadth of 10 must be available for processing. As noted above, an inter
exposure .                                                           active optimization may require a real time comparison of
   According to prior skill-based routing schemes, an agent          all available agents . In this architecture, in cases ofan ad hoc
skill level is considered a static upper limit on capabilities, organization or peak demand periods, freelance agents may
and the ACD avoids distributing calls to agents below a         be called upon dynamically as required . Thus , if a peak
threshold . Agents may be called upon to serve requests 15 demand period is much shorter than an agent shift, off-site
within their acknowledged skill set. Likewise , this allows a   freelance agents may be dynamically called upon , for
simple and discrete boundary condition to be respected in       example through the Internet, ISDN , POTS , DSL , Cable
the optimization according to the present invention .               modem , or a VPN , to handle calls . In this case , the optimal
   On the other hand , according to some embodiments of the         training of such off-site or freelance agents will generally
present invention , each call is considered a potential training 20 differ from those who are in -house agents . For example, if
exercise, in order to expand the capabilities of the agent, and freelance agents are called upon only during peak demand
therefore the boundary is not concretely applied . Therefore ,       periods , these agents will be trained specifically for the skills
to the extent that the nature of the call can be determined in        in short supply during such periods, or for generic skills
advance , the incentive according to this scheme is to route which are commonly required .
the call to an agent who is barely capable of handling the 25 In order to gage the skill set required of an agent for a call,
call , and to avoid routing only to the best available agents . a number of methods may be employed . Using a menu or
 This strategy has other implications. Because agents are hierarchical menu, a series of questions may be asked of
challenged continually, there is reduced incentive for an       callers in the queue to determine the identity of the caller and
agent to limit his skills to avoid the " tougher " assignments .     the nature of the call . Likewise, ANI/DNIS information , IP
Further, a self -monitoring scheme may be implemented to 30 address or the like, or other communications channel iden
determine the status of an agent ' s skill with each call. For       tifier may be employed to identify the calling telephone
example , agent performance is typically determined on a              communications channel. This information may directly
call-throughput basis, since call centers are managed on a           indicate the characteristics or desired characteristics of the
man -hour requirement basis and agents compensated on a              communication , or be used to call an external database
per -hour basis . Therefore , based on a presumed agent skill 35 record associated with the identity of the caller or commu
set and an estimation of the skills required for a given call,       nications channel. While it is possible to associate such a
a call duration may be predicted . The actual duration is then       database closely with the low level communications pro
compared with the predicted duration , providing a perfor-           cessing system , this is not generally done, since it may
mance metric for the agent .                                          impair the deterministic characteristics of the communica
   This scheme also allows determination of the pertinent 40 tions processing system . Rather , if such information is
factors for call duration , both based on the information about      required by the low level communications system for reso
the call or caller and the skill set of the agent. Thus, a variety   lution , and cannot be stored locally in a data table , it is
of low - level data may be collected about a volume of calls ,       preferred that it be available through a closely coupled , but
which may be statistically or otherwise analyzed to deter-           independent system . As discussed above , it is preferred that
mine significant relations. For example , an artificial neural 45 a call entering the queue require no more than a single
network or fuzzy -neural network may be implemented based            database query and receipt of response prior to action ,
on the data , which may then be automatically analyzed               although other non -time critical access may occur both
based on the independent criteria , e. g ., call duration , cost     before and after action . The prior art, on the other hand ,
function , or the like.                                              generally provides such information through independent
   It is noted that, during peak demand periods , reduced 50 and generally high level systems. High level systems are
productivity due to training exercises is preferably mini-           generally characterized by general purpose interfaces , broad
mized . Thus, as demand increases, high skill set agents are          range of functionality , and often a communications protocol
preferably reassigned from training to most- efficient opera -       having a rich and complex grammar. On the other hand ,
tional status, while lower skill set agents are assigned to calls    tightly coupled systems can often forgo extensibility and
well within their capabilities . Thus, during such peak 55 interoperability in favor of efficiency .
demand periods, the staffing requirement will generally be              In many instances, call centers are implemented to pro
no worse than traditional call centers. On the other hand ,          vide support for computer systems. It is known to provide a
since training is integrated with operations , over a period of      message automatically generated by a computer to identify
time, the average skill of all agents will increase. Thus, more      and report the status of the computer at a given time, and
skilled agents will be available at peak periods , reducing 60 possibly the nature of a computer problem . One aspect of the
overall staffing requirements over a long term due to an       present invention allows this message to be associated with
expected decrease in average call duration and increase in a direct semantic communication session with the user, for
agent productivity.                                                 example to predefine the nature of the call and possibly the
   According to this embodiment of the invention , it is less skill set required to address the issues presented . Thus , for
critical to perform the call routing resolution in the low level 65 example , a caller may be prompted to specify information of
system , since the real time criteria is not particularly limited   particular relevance in the routing process , while not being
by processing and communication latencies. On the other prompted for information irrelevant to the selection . For
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example , if only one agent is available, the entire prompting         call characteristic vector. The relevant skills required may be
process may be bypassed . If two agents are available , their          determined using different techniques.
profiles may be analyzed , and only the most critical distinc             The skill expression of a call includes the required skills
tions probed . This entire process may be handled in the low           and skill levels for efficiently handling the call . In one
level communications processing system , without substan - 5 embodiment, the skills may be divided into two categories :
tial loss of efficiency or throughput in that system , and with mandatory and optional skills . Mandatory skills are those
substantial gains in overall architectural efficiency .            skills that an agentmust possess in order to handle the call,
   Often , a highly skilled agent will serve as mentor for the     even   if the call remains in queue for an extended period of
trainee , and " shadow ” the call. Thus, the routing of a call     time . For example, language proficiency is often a manda
may depend on availability of both trainee and skilled 10 tory skill
instructor. This dual-availability checking and pairing may consideredforinhandling the
                                                                                              a call . Optional skills are those that are
                                                                                        selection    of the appropriate agent, but not
be performed in the low level system .
   Another aspect of call center efficiency impacted by this critical       . In operation , these mandatory skills are expressed as
                                                                   a high relevance rating with respect to a call characteristic
scheme is agent motivation . Because an agent with lower
                                          Insidered  challeng .
skill levels will be given assignments considered challeng - 15 15 having    a non -linear ( e.g ., binary or sigmoid ) characteristic .
ing, while more skilled agents given training assignments               Therefore , in the absence of exceptional circumstances,
which may be considered desirable, there is an incentive for           other factors for qualified agents will determine resolution .
agents to progress , and likewise no incentive to avoid                Alternately, the mandatory skills may be specified as a
progressing. Thus, an agent will have no incentive to inten -          pre -filter, with optional skills and cost function expressed
tionally or subliminally perform poorly to avoid future 20 through linear-type equations.
difficult skill-based assignments . These factors may be                  It is noted that the peak /non -peak considerations may be
accommodated in a cost function calculation , for example          applied on a call-by - call basis. Thus , certain callers may be
with an update of the agent vector after each call based on        privileged to have a shorter anticipated wait and greater
call characteristic vector, call outcomeand duration , chrono      efficiency service than others. Thus , these callers may be
logical parameters , and the like.                              25 treated preferentially , without altering the essential aspects
   In operation , the system works as follows. Prior to call of the invention .
setup , the nature of the call is predicted or its requirements       The present invention may also generate a set of reports
estimated , as well as the prospective issues to be encoun -       directed to management of the call center. Typically , the
tered . This may be performed in standard manner , for communications server generates a call log, or a statistically
example in an inbound call based on the number dialed , 30 processed log , for analysis by a higher level system , and
based on the ANI/DNIS of the caller (with possible database            does not generate complete, formatted reports itself . The
past history lookup ), selections made through automated               quality of service reports are generated to indicate the
menus , voice messages, or other triage techniques . In the            effectiveness of the call -management method and system .
case of outbound calls, a database of past history , demo              An agent summary report is organized according to the
graphic information (both particular to the callee and for the 35 activities of particular individuals, i. e . agents . A skill sum
region of the call) , and nature of the call may all be used to        mary report organizes the data by skill expressions , rather
determine the projected agent skill set required for the call.         than by agents. This report may list the number of calls
 Alternately , only parameters available locally to the com -          requiring selected skill expressions and the average time
munications control system are employed , which , for                  spent on those calls. Other known report types are also
example , may exclude a past history database lookup . Col- 40 possible . An important report type is the improvement in call
laborative filtering may be used to assist in inferring a profile      center efficiency over time, i.e., decreased wait time,
of a remote user.                                                      increased throughput, increased customer satisfaction , etc .
   It is noted that, after initial call setup , the actual skill set   Thus , each agent should demonstrate improved skills over
required may becomeapparent, and the call may be rerouted              time. Peak throughput should meet or exceed reasonable
to another agent. For example , this may be performed at a 45 expectations based on a statically skill - routed call center.
high level, thus permitting correction of errors or inappro -          Other metrics may also be evaluated . Such reports are
priate selections made by the low level system .                       typically not generated from low level communications
  Once the predicted skill sets are determined , these are             systems, and are considered an inventive feature .
then compared against a database of available agents and                 It is therefore an object of the invention to provide a
their respective skill sets . A weighting is applied based on 50 communications control system comprising an input for
perceived importance of selection criteria , and the require  receiving a call classification vector, a table of agent char
ments correlated with the available agent skill sets .        acteristic vectors , and a processor, for (a ) determining, with
   When the call center is operating below peak capacity,     respect to the received call classification , an optimum agent
marginally acceptable agents may be selected to receive the selection based on at least a correspondence of said call
call, possibly with a highly acceptable agent available if 55 classification vector and said table of agent characteristic
necessary for transfer or handoff or to monitor the call.              vectors , and (b ) controlling a call routing of the information
When the call center is operating near peak capacity, the              representing said received call in dependence thereon. It is
agents are assigned to minimize the anticipated man -hour              a further object of the invention to provide a system wherein
burden (throughput) and /or wait time . Thus, peak through             the process maintains a table of skill weights with respect to
put operation generally requires that agents operate within 60 the call classification , and applies said weights to determine
their proven skill sets , and that training be minimized .             an optimum agent selection .
   Each call is associated with a skill expression that iden             Another object of the invention is to provide a commu
tifies the skills that are relevant to efficient handling of the       nications control system for handling real time communi
call. As previously noted , the preferred embodiment is one            cations, wherein an integral system resolves a communica
in which more than one relevant skill is identified , so that all 65 tions target based on an optimizing algorithm and
of the factors that determine a “ best” agent for handling a         establishes a communications channel with the resolved
call can be considered . This is expressed , for example , as a      communications target.
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   A further object of the invention provides a communica               and a fuller understanding of the invention may be had by
tions method comprising receiving a call, classifying the call          referring to the following Detailed Description of the pre
to determine characteristics thereof, receiving a table rep             ferred embodiment.
resenting characteristics of potential targets , determining an
optimum target based on the characteristics of both the call 5                BRIEF DESCRIPTION OF THE DRAWINGS
and the potential targets, and routing the received call to the
optimum target, the determining step and the routing step        . a more complete understanding of the present inven
                                                                For
                                                       ??
being performed by a common platform .                       tion and the advantages thereof, reference should be made to
    A still further object of the invention provides a commu the following Detailed Description taken in connection with
nications control software system , comprising a multi- 10 the accompanying drawings in which :
threaded operating system , providing support for applica       FIG . 1 shows a first flow chart showing a skill routing
tions and for passing messages between concurrentlyy         method    according to the present invention .
executing applications, a communications control server         FIG . 2 shows a second flow chart showing a skill routing
application executing under said multithreaded operating method according         to the present invention .
system , for controlling real time communications, and at 15
least one dynamically linkable application , executing under present invention . block diagram in accordance with the
                                                                FIG . 3 shows  a first
 said multithreaded operating system , communicating with       FIG . 4 shows a third flowchart in accordance with the
said communications control server application to receive
call characteristic data and transmit a resolved communica - present invention .
tions target.                                               20. FIG . 5 shows a second block diagram in accordance with
   Another object of the invention provides a method of
determining an optimum communications target in real time.                 FIG . 6 shows a third block diagram in accordance with the
 comprising receiving a communication having an indeter -               present invention .
minate target, selecting an optimum target, and establishing               FIG . 7 shows a forth flowchart in accordance with the
a channel for the communication with the optimum target, 25 present invention .
wherein said selecting and establishing steps are performed                FIG . 8 shows a fifth flowchart in accordance with the
on a consolidated platform .                                   present invention.
  It is a further object of the invention to provide a com
munications processing system for directly establishing and              DETAILED DESCRIPTION OF THE
controlling communications channels , receiving information 30              PREFERRED EMBODIMENTS
regarding characteristics of a preferred target of a commu
nication , comparing the characteristics with a plurality of               The Detailed description of the invention is intended to
available targets using an optimizing algorithm , and estab -           describe relatively complete embodiments of the invention ,
lishing the communication with the target in dependence                 through disclosure of details and reference to the drawings.
thereon .                                                            35 The following detailed description sets forth numerous
   It is another object of the invention to provide a method            specific details to provide a thorough understanding of the
of selecting a call handling agent to handle a call, compris -          invention . However, those of ordinary skill in the art will
ing the steps of identifying at least one characteristic of a call      appreciate that the invention may be practiced without these
to be handled ; determining a call center load , and routing the        specific details . In other instances, well -known methods ,
call to an agent in dependence on the characteristic , call 40 procedures , protocols , components , and circuits have not
center load , and agent characteristics.                                been completely described in detail so as not to obscure the
   A further object of the invention provides a method                  invention . However, many such elements are described in
optimizing an association of a communication with an agent              the cited references which are incorporated herein by refer
in a communications center, comprising the steps of deter-              ence , or as are known in the art.
mining a characteristic of a communication ; accessing a skill 45 For each agent, a profile is created based on manual
profile of a set of agents ; cost -optimizing the matching of the inputs, such as language proficiency , formal education and
communication with an agent based on the respective skill training, position , and the like, as well as automatically ,
profile , and routing the call to a selected agent based on said        based on actual performance metrics and analysis , and used
cost-optimization with a common system with said optimiz -              to create a skills inventory table . This process is generally
ing .                                                                50 performed in a high level system , such as a customer
   An object of the invention also includes providing a                 relations management system or human resources manage
method for matching a communication with a communica -                  ment system . A profile thus represents a synopsis of the
 tion handler, comprising the steps of predicting a set of              skills and characteristics that an agent possesses, although it
issues to be handled during the communication ; accessing a may not exist in a human readable or human comprehensible
profile record for each of a plurality of communications 55 form .
handlers ; analyzing the profile records with respect to the    Preferably , the profile includes a number of vectors rep
anticipated issues of the communication to determine a       resenting different attributes , which are preferably indepen
minimal capability ; selecting an optimum communication dent, but need not be. The profile relates to both the level of
handler; and controlling the communication , all controlled ability , i. e . expertise, in each skill vector, as well as the
within a common process .                                60 performance of the agent, which may be a distinct criterion ,
   The foregoing has outlined some of the more pertinent    with respect to that skill. In other words, an agent may be
objects of the present invention . These objects should be              quite knowledgeable with respect to a product line , but
construed to be merely illustrative of some of the more                 nevertheless relatively slow to service callers . The profile , or
prominent features and applications of the invention . Many an adjunct database file , may also include a level of pref
other beneficial results can be attained by applying the 65 erence that call management has for the agent to handle
disclosed invention in a different manner or modifying the transactions that require particular skills versus transactions
invention as will be described . Accordingly, other objects             that require other skills, or other extrinsic considerations.
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   This table or set of tables is communicated to the com -              Typically , the table 305 is provided or updated by a high
munications server. Typically, the communications server               level call center management system to the communications
does not create or modify the agent skills table , with the            server system as the staffing assignments change , for
possible exception of updating parameters based on imme-               example once or more per shift . Intra -shift management,
diate performance . For example, parameters such as imme- 5 such as scheduling breaks, may be performed at a low or
diate past average call duration , spoken cadence , and other highThelevel  .
                                                                         optimization entails analysis of various information ,
statistical parameters of a call-in - progress or immediately
past concluded will be available to the communications which            may include the caller characteristics, the call incident
                                                                 characterization , availability of agents, the agent profile( s ),
server. These parameters , which may vary over the course off 10 and /or various routing
a single shift, may be used to adaptively tune the profile of invention , the necessaryprinciples    . According to the present
the agent in real time. Typically , however, long term agent able to the communications server,is made
                                                                                             information
                                                                                                           which
                                                                                                                  directly avail
                                                                                                                    performs an
performance is managed at higher levels.                         optimization to determine a " best" target, e. g ., agent selec
   FIG . 1 shows a flow chard of an incoming call routing tion , for the caller.
algorithm according to a preferred embodiment of the pres - 15           For example , if peak instantaneous efficiency is desired ,
ent invention . A call is placed by a caller to a call center 301 .    for example when the call center is near capacity 306 , more
The call is directed , through the public switched telephone          advanced optimizations may be bypassed and a traditional
network , although , calls or communications may also be              skill based call routing algorithm 307 implemented , which
received through other channels, such as the Internet, private        optimizes a short term cost- utility function of the call center
branch exchange , intranet VOIP, etc . The source address of 20 308 . An agent who can " optimally ” handle the call is then
the call, for example the calling telephone number, IP            selected 309 , and the call routed to that agent 310 . The
address, or other identifier , is received to identify the caller global (e.g., call center) factors may be accounted as a
302 . While the call is in the waiting queue , this identifier is separate set of parameters .
then used to call up an associated database record 303,                   Thus , in order to immediately optimize the call routing ,
providing, for example , a prior history of interaction , a user 25 the general principle is to route the call such that the sum of
record , or the like. The call waiting queue may be managed            the utility functions of the calls be maximized while the cost
directly by the telephony server. In this case, since the caller       of handling those calls be minimized . Other types of opti
is waiting , variable latencies due to communications with a          mizations may , of course, be applied .
separate call management system would generally not inter -          According to one optional aspect of the invention , the
fere with call processing, and therefore may be tolerated . In 30 various routing principles discussed above explicitly value
other instances , an interactive voice response (IVR ) system     training as a utility of handling a call 311 , and thus a
may be employed to gather information from the caller                  long - term optimization is implemented 312 . The utility of
during the wait period .                                               caller satisfaction is also weighted , and thus the agent
   In some instances, there will be no associated record , or          selected is generally minimally capable of handling the call .
in others , the identification may be ambiguous or incorrect . 35 Thus, while the caller may be somewhat burdened by
For example , a call from a PBX wherein an unambiguous                assignment to a trainee agent, the call center utility is
caller extension is not provided outside the network , a call         maximized over the long term , and call center agents will
from a pay phone , or the like. Therefore , the identity of the        generally increase in skill rapidly .
caller is then confirmed using voice or promoted DTMF                    In order for the communications server system to be able
codes , which may include an account number, transaction 40 to include these advanced factors , they must be expressed in
identifier, or the like, based on the single or ambiguous              a normalized format, such as a cost factor.
records.                                                                  As for the cost side of the optimization , the cost of
   During the identity confirmation process, the caller is also        running a call center generally is dependent on required shift
directed to provide certain details relating to the purpose of         staffing , since other costs are generally constant. Accord
the call. For example , the maybe directed to " press one for 45 ingly , a preferred type of training algorithm serves to mini
sales , two for service , three for technical support, four for       m ize sub -locally optimal call routing during peak load
returns, and five for other” . Each selected choice, for               periods, and thus would be expected to have no worse cost
example , could include a further menu , or an interactive     performance than traditional call centers . However, as the
voice response , or an option to record information .          call center load is reduced , the call routing algorithm routes
   The call -related information is then coded as a call 50 calls to trainee agents with respect to the call characteristics .
characteristic vector 304 . This call characteristic is either This poses two costs . First, since the trainee is less skilled
generated within , or transmitted to , the communications              than a fully trained agent, the utility of the call will be
server system .                                                        reduced . Second , call center agent training generally
   Each agent has a skill profile vector. This vector is              requires a trainer be available to monitor and coach the
developed based on various efficiency or productivity cri- 55 trainee . While the trainer may be an active call center agent,
teria . For example , in a sales position , productivity may be and therefore part of the fixed overhead , there will be a
defined as sales volume or gross profits per call or per call marginal cost since the trainer agent might be assuming
minute , customer loyalty of past customers , or other appro -         other responsibilities instead of training. For example ,
priate metrics. In a service call, efficiency may be defined in        agents not consumed with inbound call handling may
terms of minutes per call , customer loyalty after the call , 60 engage in outbound call campaigns.
customer satisfaction during the call, successful resolution              It is clearly apparent that the communications server
of the problem , or other metrics. These metrics may be                system will have direct access to call center load data , both
absolute values , or normalized for the agent population , or          in terms of availability of agents and queue parameters .
both . The skill profile vector is stored in a table , and the            Thus, in a training scheme, an optimization is performed ,
profiles, which may be updated dynamically, of available or 65 using as at least one factor the value of training an agentwith
soon to be available agents , are accessed from the table             respect to that call 312 , and an appropriate trainee agent
(database ) 305 .                                                     selected 313 .
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   In order to provide proper training, the trainer and trainee         509b , which may include a plurality of central processing
must both be available, and the call routed to both 314 .               units , for : (i) determining , with respect to the received call
Generally , the trainee has primary responsibility for the call ,       classification information , an optimum agent 515a , 515b ,
and the trainer has no direct communication with the caller.            515c , 515d , selected from sufficiently capable available
Therefore , the trainermay join the call after commencement, 5 agents for association with a call corresponding to call
or leave before closing. However, routing a call which         classification information , the determination of an optimum
requires two agents to be simultaneously available poses                agent being based on a multifactorial optimization of (a ) at
some difficulties . In general, the trainer is an agent capable         least a non -binary weighted correspondence of said plurality
of handling the entire call alone , while the trainee may not           of classification characteristics and (b ) said plurality of
be. Therefore , the trainer is a more important participant, 10 distinct agent characteristics 504 for each of said plurality of
and the initial principle in routing the training call is to            agents 515a , 515b, 515c, 515d , and ( ii) controlling a routing
ensure that a trainer is available . The trainer may then await         of a plurality of concurrent calls with a call router 512 in
availability of an appropriate trainee, or if none is immi-             dependence on the determination . The processor may oper
nently available , handle the call himself or herself.                  ate under control of a consolidated operating system 510 .
   On the other hand , where a specific training campaign is 15 The determination and control by the processor may employ
in place, and a high utility associated with agent training ,           a common message queue 511 in the operating system 510 .
then the availability of a specific trainee or class of trainees        The process may maintain a data structure 503 representing
for a call having defined characteristics is particularly               skill weights 506 with respect to said call classification
important. In that case , when an appropriate trainee is                information 501, and applies said weights to determine an
available , the call held in that agent's cue , and the call 20 optimum agent selection . The processor may receive extrin
possibly commenced , awaiting a training agent’s availabil              sic perturbation information 508 independent of the plurality
ity .                                                                   of classification characteristics and the plurality of distinct
     If the training is highly structured , it is also possible to      agent characteristics, to provide discrimination in control of
assign the trainer and trainee agents in pairs , so that the two        call routing. A cost function may be provided for each agent
are always available for calls together.                             25 515a , 515b , 515c, 515d , the processor optimizing a cost
   The system according to the present invention may also               benefit outcome of a routing .
provide reinforcement for various training. Thus , if a subset             A plurality of call classification vectors 501 may be
of agents receive classroom training on a topic , the server            received , the processor being adapted to determine, with
may target those agents with calls relating to that topic . For         respect to the received plurality of call classification vectors
example , the topic may represent a parameter of a call 30 501 , an optimum association of the set of agents 15a , 515b ,
characterization vector. In order to target certain agents for          15c , 515d , and calls having the associated call classification
calls having particular characteristics , a negative cost may           vectors 501.
be applied , thus increasing the probability that the agent will        As shown in FIG . 4 , a communications method is shown
be selected , as compared with an agent having a positive               comprising: (a ) receiving a plurality of concurrent commu
cost. By using a single cost function , rather than specific 35 nications, each having a plurality of associated classification
override , the system becomes resilient, since this allocation          factors 601; (b ) storing information representing character
is not treated as an exception , and therefore other parameters        i stics of a plurality of potential targets ; ( c ) performing a
may be simultaneously evaluated . For example , if a caller             multifactorial optimization to determine an optimum target
must communicate in a foreign language , and the agent does             for each of the plurality of concurrent communications
not speak that foreign language , then the system would not 40 based on the classification factors and the characteristics of
target the call to that agent, even if other factors weigh in           the plurality of targets 602 ; and (d ) routing at least one of the
favor of such targeting .                                               communications to a respective an optimum target, said
   The same techniques are available for outbound cam -                 performing step and said routing step being performed under
paigns and/or mixed call centers. In this case , the cost of            control of a single computer operating system 605 .
training is more pronounced , since agents idle for inbound 45             The performing and routing may employ a common
tasks are generally assigned to outbound tasks , and thus the          message queue in an operating system 607 . A data structure
allocation of trainer agents and trainee agents generally              representing skill weights with respect to the communication
results in both longer call duration and double the number of           classification factors is applied to determine an optimum
agents assigned per call. This costmay again be balanced by             agent selection 604 . The method may also include the step
avoiding training during peak utility outbound calling hours 50 of perturbing the determining step to provide discrimination
and peak inbound calling hours ; however, training opportu -            in routing 606 . The determining step may comprise provid
nities should not be avoided absolutely.                                ing a cost function for each target, and optimizing a cost
  According to one embodiment of the invention , at the                benefit outcome of a routing 608 .
conclusion of a call , the caller is prompted through an IVR              FIG . 4 shows a communications control system 701,
to immediately assess the interaction , allowing a subjective 55 comprising at least one programmable processor 702 execut
scoring of the interaction by the caller without delay. This            ing instructions stored in a computer readable medium 703 ,
information can then be used to update the stored profile               the instructions being adapted to control the at least one
parameters for both caller and agent, as well as to provide             programmable processor to execute: ( a ) a multithreaded
feedback to the agent and/or trainer. Under some circum -               operating system , providing support for applications and for
stances, this may also allow immediate rectification of an 60 passing messages between concurrently executing applica
unsatisfactory result.                                               tions 703 ; (b ) a communications control server application
   As shown in FIG . 3 , a communications control system is          executing under said multithreaded operating system , for
shown comprising an input 502 receiving call classification          controlling concurrent real time communications 704 ; and
information , the call classification information comprising a       (c ) at least one dynamically linkable application , executing
plurality of classification characteristics 501, a data structure 65 under said multithreaded operating system , communicating
503 representing a plurality of distinct agent characteristics       with said communications control server application to
504 for each of a plurality of agents ; and a processor 509a ,          receive call characteristic data and perform a multifactorial
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optimization with respect to a plurality of target character -       or provided by other means. These are sent as a parameter
istics for each of a plurality of available communications           file to the communications server.
targets , to resolve an optimal communications target and                A rule vector specifies a normalized contribution of each
transmit a resolved communications target , said communi- skill to apply to the total. This rule vector, for example ,
cations control server application controlling a plurality of 5 represents the call characteristic vector. Thus, attributes of
concurrent real time communications in dependence on the the call and the status of the system are analyzed to generate
transmitted resolved communications target 706 .                this rule vector. There can be more than one rule vector
  As shown in FIG . 6 , a communications matching system             defined in a project (split ), or a rule can be setup in a per call
801 is shown , comprising : ( a ) a plurality of communications      basis . Generally, routing with predefined rules is much more
channels for concurrently communicating with a plurality of 110 effic
                                                                efficient than routing with rules in a per call bases. When a
 entities 802; and (b ) a communications router for defining a  call needs to be routed to an agent, the rule vector is applied
 plurality of concurrent communications paths between sets to the skills of the available agents and a score is derived for
comprising at least two of said entities , wherein said com
munications router conducts series of auctions to select is each        agent. The agent with the highest score is assigned the
respective communications paths from among a plurality of 15 call , as shown in Table 1 .
available competing paths, wherein said series of auctions is the   As shown in Table 1, Agent 1 would be selected , since this
determine winners based on a valuation function which is                 highest score .
sensitive to both economic factors and non - economic fac same      In this example, it is presumed that all selections have the
tors , wherein the non -economic factors have an effect on               cost, and therefore the utility only varies . Thus, the
auction outcome which changes over time, the non -eco -: 2020 tion
                                                                agent with the highest utility function is the optimal selec
                                                                      .
nomic factors being valued at the time of the auction 803 .
   As shown in FIG . 7 , a communicationsmethod is shown,                               Example 2
comprising the steps of: (a ) providing a plurality of com
munications channels for concurrently communicating with          The conditions below are the same as in Example 1 ,
a plurality of entities 901; and (b ) automatically concur- 25 except two new factors are provided, Acl and Ac2. The
rently routing communications between a plurality of com       Preliminary Score is calculated as the sum of the products of
munications channels based on the results of an automated            the Rule Vector and the Agent Vector. The Final Score is
auction which determines at least one winner based on a              calculated as ( Aclxsum ) + Ac2 .
valuation function which is sensitive to both economic          In this case , Acl represents an agent- skill weighting cost
factors and non - economic factors 902, wherein the non - 30 function  , while Ac2 represents an agent cost function . Since
economic factors have an effect on auction outcome which             we select the maximum value , more expensive agents have
changes over time, the non -economic factors being valued at         correspondingly lower cost values .
the time of the auction .
   The communications channels may be of a first type and              As can be seen in Table 2 , Agent 5 is now optimum .
a second type , the communications being routed between a 35                                  Example 3
user of at least one of a first type of communications channel
and a user ofat leastone of a second type of communications            In this example , a limiting criterion is imposed, that is ,
channel 903 . The non -economic factors may comprise an              only agents with a skill score within a bound are eligible for
optimality of matching a profile representing a user of a       selection . While this may be implemented in a number of
communications channel of the first type with a profile of a 40 ways  , possibly the simplest is to define the range, which will
user of a communications channel of a second type 904 .         typically   be a lower skill limit only, below which an agent
    The economic factors may compensate for a suboptimi         is excluded from selection , as a preliminary test for " avail
ality of a matching of profiles to perturb a non - economic     ability " :
optimal matching from the auction 905.                             As noted below in Table 3 , the screening criteria may be
   As shown in FIG . 8, a communications controlmethod is 45 lower     , upper or range limits . In this case , the screening
shown, comprising the steps of: ( a ) receiving call classifi   process excludes agents 2 , 3 , and 5 , leaving agents 1 and 4
cation information for each of a plurality of calls, the call available. Of these two choices , agent 1 has the higher score
classification information comprising a plurality of classifi
cation characteristics 1001 ; (b ) representing a plurality of and   would be targeted . (Note : 2, 3 , 5 excluded , 1, 4 avail
                                                                able ).
agent characteristics for each of a plurality of agents 1002; 50
( c ) determining, with respect to the received call classifica                                 Example 4
tion information associated with a plurality of concurrent
calls, an optimum set of concurrent mutually exclusive                  In this example , the optimization seeks to optimize the
associations of the set of agents with the plurality of calls, placement of 5 incoming calls to 5 agents. As shown in Table
the determining being dependent on at least a multifactorial      55 44., each caller is represented by a different call vector, and
optimization of (i) the weighted correspondence oftorial      the » each     agent by a distinct skill vector. The optimization
plurality of classification characteristics for each of the therefore seeks the maximum utility from the respective
respective plurality of calls , and ( ii ) the plurality of agent possible pairings.
characteristics for each of said plurality of agents 1003 ; and
( d ) controlling a concurrent call routing of the plurality of 60                               TABLE 1
calls in dependence on the determination 1004 .
                            Example 1                                  Rule vector              Agent Agent Agent Agent Agent
   Each agent is classified with respect to 10 skills, and each 65
skill can have a weight of 0 to 127 . The skill weights may
be entered manually by a supervisor, developed adaptively ,
                                                                          20 %
                                                                           5%
                                                                          10 %
                                                                                     Skill
                                                                                     Skill 2
                                                                                     Skill 3
                                                                                                   3
                                                                                                  10        awl    9      10
                                                                                                                                  ?
                                                                                                                                  ???
                                                                                                                                  ??
                                                                                                                                  10
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                                                                                                      US 10 ,237 ,420 B1
                                                     41
                                    TABLE 1 -continued
                                           Agent Agent Agent Agent Agent
 Rule vector                                     1               2               3               4                     5
         15 %            Skill        4    43                                3
          3%             Skill 5             7               2                   9               2                 8
          7%             Skill658589
         20 %            Skill 7 2   3   4  2   2
          8%             Skill 8 64 80 29 4 5  77
          5%             Skill 9 4   5   4   1  2
          7%             Skill 10 9  3 83       6                                                                                        10
        100 %           Score              18 .51          17 .33            11 . 1        13. 93                 13.65


                                           TABLE 2
                                                                                                                                         15

 Rule Vector
                                           Agent Agent
                                                   2
                                                       Agent
                                                         3
                                                             Agent Agent
                                  Ac1       0 .4             0 .55                0 .45               0. 7             0 .6
                                  Ac2        6               3                    6 .8       2                5            .5
 20 %
  5%
                Skill
                Skill                     33333mooin 20
 10 %           Skill                     10691010
 15 %           Skill                     43 50 33 46 25
   3%           Skill                     72928
  7%            Skill                     58589
 20 %
  8%
   5%
   7%
100 % Prelim
      Score
                Skill
                Skill
                Skill
                Skill    OvaAWN            644
                                           18 .51 17.33                          11. 1               13.93 13.65
                                                                                                                   77
                                                                                                                       6
                                                                                                                                         25


                Final
            Score
                                           13.40 12. 53 11.80 11.75 13 .69 30

                                                                                      TABLE 3
   Rule Vector                                                                                                              Agent Agent Agent Agent Agent
           Min Skill Max Skill Exclude Agent                                                                                         1              2                   3        4         5
                                                                                                             Ac1  0.4 0 . 55                                           0.6
                                                                                                             Ac2 63                                                 825
                                                                                                                                                                    6.  .5




                                                                                                                                                                                       inmoa
 20 %             0%              25 %                                               Skill                       20




                                                                                                             AGoWvNEu Swaonw tömoa nt rhoinw g
  5%                                                                                 Skill




                                                                                                                                mounta
 10 %                                                                                Skill
 15 %            40 %             100 %               3, 5                           Skill
  3%                                                                                 Skill
  7%                                                                                 Skill
 20 %                                                                                Skill
  8%             30 %              75 %              2 , 3, 5                        Skill                                  64                                 29                     77
  5%                                                                                 Skill
  7%                                                                                 Skill                             9                      3                     8        3
100 %                                                                       Prelim Score                                        18 .51            17 . 33          11. 1    13 .93    13 .65
                                                                             Final Score                                        13 .40            12 .53           11. 80   11.75     13.69




                                                                                                                                              TABLE 4
                                      Rule Vector         Rule Vector                    Rule Vector                   Rule Vector                   Rule Vector                     Agent     Agent   Agent   Agent   Agent
                        SKILL                             23                                                                4.                                                                   2       3      4       5
                         –                20 %                       25 %                        17 %                             20 %                      14 %
                         N
                                           5%                        10 %                            5%                            5%                        3%
                                          10 %                       15 %                    20 %                                 10 %                      8%                        10         6       9      10      10
                                          15 %                       10 %                     5%                                   5%                       5%                       4350334625
                                           3%                         0%                      5%                                   8%                       1%                       72928
                                           7%                        10 %                    13 %                                 10 %                       7%                      58589
                         -                20 %                       10 %                            5%                          10 %                       20 %
                         X
                                           8%                         4%                             8%                           4%                         8%                      6480294577
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                                                                                    US 10 ,237 ,420 B1
                                                                           TABLE 4 - continued
                   Rule Vector Rule Vector Rule Vector                Rule Vector Rule Vector                               Agent Agen Agent                          Agent                      gent
SKILL                                                                           4                 5                         123                                         4

                       5%                 8%             13 %               18 %                23 %                           4             5             4             1
   10                   7%                8%              9%                10 %                11 %                      93836
                     100 %          100 %              100 %               100 %               100 %             Rule 1      18 .51      17. 33            11 .1       13. 93                   13 .65
                                                                                                                 Rule 2      15 . 4      12 . 39            8 .72      10 .77               10 . 12
                                                                                                                 Rule 3      15 .25      13. 31             8 .97      10 .54               12 .71
                                                                                                                 Rule 4       12.74          9 .91          7 .6         7 .89                   8 . 98
                                                                                                                 Rule 5       13 .69     12.838 .24                      9 .03              11.09




                                                                                               TABLE 6
                        Rule Rule              Rule Rule Rule
   SKILL                Vector Vector          Vector Vector Vector
    Caller                   1       2            3             4                                      Agent                Agent                    Agent                     Agent                        Agent
 time factor                 3     3 .5        2 .75            4.         10                                                 2

                                                                                     Agent              0 .59                                                                 0 . 86                        0 .79
                                                                                     Cost
                                                                                     Agent              1. 3                                                                                                1. 2
                                                                                      time
                                                                                      factor
                         20 %      25 %         17 %           20 %     14 %                           20                                        ???




                                                                                                                                                                        Nanowu mon
                             5%    10 %          5%             5%       3%                             3
                         10 %      15 %         20 %           10 %      8%                                                                      ?




                                                                                                       omenta waunswe
                         15 %      10 %          5%             5%         5%                                                                    ?


                           3%       0%           5%             8%         1%
        AvOWaNnO          7%
                         20 %
                          8%
                                   10 %
                                   10 %
                                    4%
                                                13 %
                                                 5%
                                                 8%
                                                               10 %
                                                               10 %
                                                                4%
                                                                       20 %
                                                                         8%
                                                                           7%
                                                                                                                                                 ?




                                                                                                                                                 ?



                                                                                                                                                 ?



                          5%        8%          13 %        18 %       23 %                                                                      ?



                          7%        8%           9%         10 %       11 %                                                                      ?



                        100 %     100 %        100 %      100 %       100 %          Rule 1           72. 189             58 .80069              19 .647                31. 71861                         36 .855
                                                                                     Rule 2           70 .07              49 .045815             18 . 0068              28 .610505                        31. 878
                                                                                     Rule 3           54. 51875           41 .3974275            14 .553825             21. 999615                        31.45725
                                                                                     Rule 4           66 . 248            44 .83284              17 .936                 23 . 95404                       32.328
                                                                                     Rule 5       177.97              145 .1073                  48 .616                68.5377                           99 .81




                                                                                     TABLE 5
                                                                      Combinatorial analysis of agents vs. callers
58.85 59.52 58 .77 59 .58 60 .68 58 .79 58 .04 58. 85 60 .28 57 .72 58.12 58. 93 60 .42 57.86                                            59 .0160. 15               59 . 26            56 . 7         59 . 96       58.18
57. 88 58 . 55 58 .88 60 .66 59.71 57.82 58. 15 59. 93 59.31 56 .75 55 .41 57. 19 60 .53 57.97 56 .3 57. 33 60 .34 57.78 57.25 55.36
60.13 61.28 59.25 60 .06 61.96 61. 33 59.3 60.11 62.04 60. 26 58 . 9 59.71 60 .9 59. 12 59 .79 60 .93 59 .74 57. 96 58.63 58. 96
60.24 49.54 56 .54 58 . 32 62.07 58.99 56 . 96 58 .74 59. 33 57.92 56 .56 58 . 34 58 .19 56 .78 57.45                                                  58 .48 58                       56 .59         57 . 26       56 .51
58.66 59.81 60 .14 62.42 60 .49 59.86 60 . 19 62. 47 60.57 58 .79 57.45 59.73 61.79 60.01 58. 34 58.59 62. 1                                                                       60 . 32 58.65 56 .62
59.74 58. 07 57 .32 59 .6 61.57 58 .49 57 .74 60 .02 58.83 57 .42 57.82 60 .1 58 .97 57.56 58 .71 58 .96 59 .28 57.87 59. 02 56 . 99

                                                                                                       50




                                                                                                                      TABLE 7
                                                                                                                 Combinatorial Analysis
                                               259 .5527 255 . 3573 256 .8383 289.6307 267 . 1886 254. 8785 256 .3595 289. 1519 255 .0903 246 . 9756
                                               236 .6543 232.4589               235.0236        290 .7144        244 .2902 231.9801 234.5448 290. 2356                                      232. 1919              224 .0773
                                               260 .9804 259.9429               259. 9962       292.7886         268 .6163 260.932 260 .9853 293. 7777                                      259.6759               253 .0292
                                               239 .1658 163.4004 231.9914 287 .6822 246 .8016 234 .7961 234 .8494 290 .5402 231.6711 226 .8933
                                               224 . 1784 223. 1409 225 .7056 295. 3001 231.8143 224 . 13 226 .6947 296 .2892 222 .8739 216 .2272
                                               225 .2621 218 .0345 219 .5155 289. 1099 232.898                                     220 .8925 222.3735 291.9679 217.7675 212. 9896
                                               247.4191 280 .2116 264 .8651 256 .7504 255 .7129 291. 0701 309 . 1051 300 . 9904 367.4349302. 5176
                                               219 .4143 275. 1051 243.0504 234.9358 227.7081 284. 8799 310 . 1888 302.0741 339.4301 296 .3275
                                               248.887          281.6795        268.023         261.3763 257 . 1808                292.538        312 . 263         305. 6163                   301.4208           303.9855
                                               222 .7511 278 . 4419             240.0182 235 . 2403 231.0449 288.2167 307. 1566 302. 3787 298 .1833 299.6643
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                                                        US 10 ,237 ,420 B1
                                45                                                                        46
                                            TABLE 7 -continued
                                            Combinatorial Analysis
  211 .5642 281. 1587 233 .7324 227. 0857 219 .858      289. 5057 314 .7744 308. 1277 300. 9        300.9533
  213.4331 283.0276 227 .5423 222. 7644 221 .7269 291.3746 308 .5843 303. 8064 302.7689 302 .8222

   Using a combinatorial analysis, as shown in Table 5 , the              the caller and the likely issues of the call, which may then
maximum value is 62 .42, which represents the selection of                be used to optimize a targeting of the call to available
agent 1 /caller 1; agent 2 /caller 5 ; agent 3 /caller 4 ; agent 4 ,      recipients . The maintenance of vectors to describe available
 caller 2 ; and agent 5 , caller 3 .                                      call targets is described above .
                                                                             In cases where multiple recipients are available and have ,
                            Example 5                                     within a reasonable range , equivalent or super - threshold
                                                                       15 qualifications or suitability to receive the call , it may be
  Similar to Example 4 , it is also possible to include an                appropriate for the potential recipients to compete for the
agent cost analysis , to provide an optimum cost-utility                  call . That is , the optimization of targeting (e .g ., pairing of a
function. As in Example 2 , the cost factors are reciprocal,              caller and callee ) includes an economic component, option
since we select the largest value as the optimum . Likewise ,             ally with a non -economic component. For example , the
time factors are also reciprocal, since we seek to minimize 20 potential recipients each submit a bid for the call, with the
the time spent per call. In this case, shown in Table 6 , the             call being routed to the auction winner (which may be a
cost analysis employs three additional parameters : the agent             payment to or from the recipient, depending on the circum
cost, a value representing the cost of the agent per unit time;           stances of the auction ) at, for example , a first or second
a value representing an anticipated duration of the call based            price , according to the auction rules.
on the characteristics of the caller; and a value representing 25 In a typical case , the routing server has a direct and
the anticipated duration of the call based on characteristics prearranged financial arrangement with the bidders, and the
of the agent.                                                             auction process does not directly involve the caller . On the
   As can be seen in Table 7, the maximum value is 314 .78 ,              other hand, other cases allow the caller to be involved in the
which corresponds to a selection of:                                      auction as a " buyer" or " seller ” , with the communications
    Agent 1/Call 5 ; Agent 2 / Call 1 ; Agent 3 /Call 4 ; Agent 30 router serving only in the capacity of auctioneer, and not a
4 /Call 2 ; and Agent 5 / Call 3 .                                 principal to the auction .
    Therefore, it is seen that the optimum agent/caller selec -              In cases where the potential recipients do not all have
tion is sensitive to these cost factors .                                 equivalent qualifications, a normalization function may be
    It is also seen that, while the analysis can become quite             applied to correct thebids. For example , a potential recipient
complex , the formulae may be limited to evaluation of 35 with a 60 % match with the required qualification profile
simple arithmetic functions, principally addition and multi- might have to bid 50 % more than a potential recipient with
plication , with few divisions required . Thus, these calcula             a 90 % match , assuming that the matching function linearly
tions may be executed efficiently in a general purpose                    corresponds with an economic factor ; otherwise, a non
computing environment.                                                    linear normalization may be applied . This is equivalent to
                                                                       40 providing that the value applied to determine the auction
                      Example 6                                           winner includes a component representing an economic
                                                                          value and a component representing a non - economic value ,
   Geographic information may be used as a basis for                      e .g., a match or optimality score for the call, which is
communications routing . Mobile phones are or will be                     determined for each bidder to determine the winner. The
capable of geolocation , meaning that the location of the 45 bidder in this case may either have knowledge of the match
handset may be automatically determined in real time and     score , or may bid blind .
communicated . Likewise , a location of landlines can typi-                 In a commission based system , for example, an agent with
cally be determined . There are a number of instances where               a higher sales average performance might have to bid a
this information may then advantageously be used to route                 lower amount than an agent with lower performance , the
calls . For example , a call to a national pizza delivery chain 50 difference being an amount which tends to equalize (but not
toll free number or central facility may be automatically                 necessarily completely equalize ) the anticipated payoff from
routed to a geographically proximate local franchisee , or, if            the call , thus incentivizing higher sales performance. In any
a number are available , to one of a qualified group . It is              case , the communications router ( or a separate system which
noted that while the communications are preferably voice                  communicates with the communications router in some
communications, other type of communications may be 55 embodiments ) evaluates the bids including both economic
supported .                                                               and non - economic components , determines the winning
   However, it is also possible to perform evaluation of more             bidder, and determines the communications path (s ) .
complex algorithms in order to determine a set of commu -                    In another embodiment, a group of agents within a call
nications partners . For example , a geographic factor, a past            center have performance goals for a shift, with possible
history , and / or user profile may be available to describe the 60 gradation between agents of the goals based on compensa
caller. This information may provide , for example, a pre -               tion , seniority, etc . The agents are within a queue , in which
ferred language , a contact report (identifying likely issues ), the default is a sequential selection of available agents .
demographic information , and user personality (as deter- However, an agent may seek to take a break , and therefore
mined from a prior communication ). Likewise, an interac - bids for a lower position within the queue . Likewise , an
tive voice or keypad response system can glean further 65 agent may find him or herself behind in performance , and
information to determine the issues involved in the call .       wish to bid for higher placement within the queue. As
Using this information , a vector may be provided describing discussed above , the bid cost or perturbation effect may be
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                             47                                                                   48
normalized based on a variety of factors and schemes,               poses of illustration only and are not intended to limit the
including the optimality of matching. In this scheme, the           scope of the invention . Those of ordinary skill in the art will
auction may be economic or non - economic . In a non           recognize that the invention may be embodied in other
economic scheme, each agent is provided with a set of bid specific forms without departing from its spirit or essential
units , for example 100 per shift. The bid units may then be 5 characteristics . References to details of particular embodi
applied to advance within the queue , or even traded with           ments are not intended to limit the scope of the claims.
another agent (although this possibility leaves open the issue        It should be appreciated by those skilled in the art that the
of undesired indirect real economic effects , since the trade specific embodiments disclosed above may be readily uti
may involve extrinsic value ).                                   lized as a basis for modifying or designing other structures
  Another possibility is the ad hoc formation ofchat groups . 10 for carrying out the same purposes of the present invention .
In this case , the composition of the group is optimized based      It should also be realized by those skilled in the art that such
on the respective profile vectors of the members. In some           equivalent constructions do not depart from the spirit and
cases , the ideal or optimum is minimum variance of the             scope of the invention as set forth in the appended claims.
vectors, but in other cases optimality may require comple
mentary components . Assuming multiple chat groups and 15                                  REFERENCES
multiple callers, there may be a market economy for match
ing a caller with a group . In such a scenario , a VCG type         Adomavicius, Gediminas, and Alexander Tuzhilin .“ Extend
auction may be conducted , with the composition of each                ing recommender systems: A multidimensional
group allocated based on an optimization of bid values. An             approach .” In Proceedings of the International Joint
example of this is a sports chat line . A number of fans and 20        Conference on Artificial Intelligence ( IJCA1- 01 ), Work
sports celebrities contact a call center and are identified and        shop on Intelligent Techniques for Web Personalization
a profile applied . Using market principles, the groups are           (ITWP2001), Seattle, Wash ., August, pp . 4 -6 . 2001. www .
formed to maximize the utility aggregate functions . Thus, a          mineit.com /Ic/ ijcai/papers / adomavicius.pdf
group of “high rollers ” may gain the benefit of a superstar,       Adomavicius, Gediminas, and Alexander Tuzhilin . “ Using
while neophytes may only communicate with a rookie , with 25           data mining methods to build customer profiles.” Com
the set of groups optimized to achieve maximum utility .              puter 34 , no . 2 (2001): 74 -82. www .eng.auburn .edu/users /
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services , adult theme entertainment, business services, con -      Aggarwal, Charu C . “ On the effects of dimensionality
sumer services, or the like. In these systems, the communi            reduction on high dimensional similarity search .” In Pro
cations router typically taxes some of the economic surplus 30        ceedings of the twentieth ACM SIGMOD -SIGACT- SI
generated by the system , in a real economic form , while             GART symposium on Principles of database systems, pp .
benefiting the various classes of user.                         256 - 266 . ACM , 2001. web .mit.edu / charu /www /dim .ps
    It is noted that the auction may involve transfer of real Aggarwal, Charu C ., Joel L . Wolf , Kun -Lung Wu, and Philip
economic benefits, or a synthetic economy constructed           S . Yu . “ Horting hatches an egg : A new graph - theoretic
within a closed system . For example , micropayment tech - 35 approach to collaborative filtering.” In Proceedings of the
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value between entities, even through an open network ,                edge discovery and data mining, pp . 201-212 . ACM ,
without having to trust all entities within the chain of              1999 . web .mit.edu /charu /www /kdd386 .ps
custody .                                                           Aguzzoli, Stefano, Paolo Avesani, and Paolo Massa . “ Com
   The bidding may be a volitional real time event, allowing 40 positional CBR via collaborative filtering.” in Proceed
those involved to make decisions on the spot; but more          ings of ICCBR , vol. 1. 2001. sra .itc .it/tr/AAMO1.ps. gz
typically , a bidder will define a personal value function , Almeida , João Paulo Andrade, Giancarlo Guizzardi, and
which is then used in an automated auction process . The               José Gonçalves Pereira Filho. “ Agent-Mediators in Media
bidder will therefore provide an indirect control over the            on Demand Electronic Commerce .” In VII International
bidding on his or her behalf, for example using feedback to 45        Congress of new technologies and Computer Applica
tune the attributed value function to a desired value. In             tions , Cuba . 2000 . wwwhome.cs .utwente. nl/~ guizzard /
auction types where broadcast of a true value is a dominant          m od -amec - cuba.pdf
strategy, the function itself may be presented as a bid             Amento , Brian , Loren Terveen , and Will Hill . “ Does
(assuming that the auctioneer has sufficient information to           " authority ” mean quality ? Predicting expert quality rat
evaluate the function ), otherwise , it may be evaluated under 50      ings of Web documents .” In Proceedings of the 23rd
the circumstances and a normalized value transmitted . The            annual internationalACM SIGIR conference on Research
auctioneer is , in this case, the communications arbitrator or        and development in information retrieval, pp . 296 - 303.
switch . In a successive price auction , the value function           ACM ,        2000 .    www .research .att .com / ~ terveen /
itself is preserved , although the dropout pattern may be             sigir2000.ps
noted , allowing an estimation of the value function of 55 Ardissono, Liliana , and Anna Goy . “ Tailoring the interaction
competitors .                                                     with users in web stores.” User Modeling and User
   It should be clear that there are many possible scenarios      Adapted interaction 10 , no . 4 ( 2000): 251 -303. www .di
which allow callers and /or potential recipients to compete       .unito . it/~ liliana /EC /umuai-per -www .ps. gz
for a connection , and therefore a large variety of auction     Ardissono , Liliana, Luca Console, and Ilaria Torre. “ An
types may be implemented accordingly .                        60 adaptive system for the personalized access to news.” Ai
   The present system differs from a known telecommuni             Communications 14 , no . 3 (2001 ): 129 - 147. www .di.uni
cations auction in that, for example, it is sensitive to user      to . it/- liliana/ EC /aiComm01.pdf
characteristics, and does not treat each communications line Aron , Ravi, Arun Sundararajan , and Siva Viswanathan .
as a simple commodity .                                           " Intelligent agents in electronic markets for information
   From the above description and drawings, it will be 65 goods : customization , preference revelation and pricing."
understood by those of ordinary skill in the art that the         Decision Support Systems 41, no . 4 (2006 ): 764 -786 .
particular embodiments shown and described are for pur            oz.stern .nyu . edu /papers/agent.pdf
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   Contracting , or the Rules of the Game                                   teristic ; and
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private information ; Ch6 Moral hazard and performance                   4 . The method according to claim 1, wherein the evaluator
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games, and the limits of simple models .                    distribution.
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Oxford : OUP, 1991 .                                                      12 . The method according to claim 1 , wherein the at least
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strategic behavior, in Strategy and Choice , ed . by R . J .           signal changes an availability of at least one partner, further
Zeckhauser, MIT Press , 1991.                                       45 comprising updating a memory storing partner availability
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point your browser at the following URL: www .canterbury .               14 . The method according to claim 1 , wherein the request
ac .nz/ econ /hist.htm                                                 comprises a request for communication, further comprising
   www .pitt. edu /~ alroth / alroth .html                           establishing the requested communication by controlling a
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Learning to Play Bayesian Games ( Jun . 20 , 2001). signal.
www7.kellogg.northwestern . edu /research /math /papers /               15 . The method according to claim 1 , wherein the request
 1322 .pdf                                                           comprises a voice call , further comprising connecting the
   www . gametheory .net/html/ lectures .html                        voice call with a partner selectively dependent on the control
   Drew Fudenberg and David K . Levine , The Nash Threats 55 signal.
Folk Theorem With Communication and Approximate Com -                    16 . Themethod according to claim 1 , wherein the request
mon Knowledge in Two Player Games ( Jun . 10 , 2002 ).               is related to a transaction , having an economic outcome,
   What is claimed is :                                              wherein the evaluator is dependent on a statistical function
   1. A method of pairing requests , comprising :                    optimized to indicate a pairing having a highest probabilistic
   estimating at least one content - specific or requestor -spe - 60 economic outcome.
       cific characteristic associated with a request;                  17 . The method according to claim 1 , further comprising :
   determining a set of available partners , each having at             receiving a series of requests ;
      least one respective partner characteristic ;                     generating a series of control signals which concurrently
   evaluating, with at least one automated processor, a                     alter availability of a plurality of partners ; and
      plurality of pairings of the request with a plurality of 65 dynamically updating availability of partners over time;
      different available partners , according to an evaluator          wherein the evaluator maximizes an aggregate value of
       for valuing pairings of the request with respective                  the plurality of available partners.
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                             83                                                                  84
   18 . The method according to claim 1, wherein the evalu           20 . A method of processing requests, comprising :
ator performs at least one of a combinatorial analysis and an        estimating at least one content-specific or requestor- spe
opportunity -cost dependent analysis of a plurality of alter           cific characteristic associated with each received
nate pairings .                                                        request;
   19 . A system for pairing requests, comprising :                  determining availability of a plurality of alternate target
  at least one port, configured to receive a request and               resources, each respective target resource having at
     information identifying a content or requestor -related           least one respective target characteristic ;
    characteristic associated with the request;                      evaluating , with at least one automated processor, a
  at least one memory , configured to store availability .              plurality of alternate allocations of the respective
      information for a plurality of partners, and at least one 10     received request with different available targets,
      respective partner characteristic associated with each           according to a ranking dependent on a probabilistic
      respective available partner ; and                               predictive multivariate evaluator, based on the at least
   at least one automated processor, configured to generate a          one content-specific or requestor-specific characteris
     control signal, selectively dependent on an evaluation            tic , and the respective target characteristics of the
     of each of a plurality of pairings of the request with a 15        plurality of alternate target resources ; and
      plurality of different available partners , dependent on at    generating a control signal, by the at least one automated
     least one probabilistic function of the at least one              processor , selectively dependent on the evaluating, to
     content or requestor -related characteristic associated            control the allocations of the respective received
     with the request, and the at least one respective partner         request with the different available targets .
     characteristic .                                                                    *   *   *    *   *
